                   Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 1 of 101




                                                           UNITED STATES DISTRICT COURT
                                                           SOUTHERN DISTRICT OF FLORIDA

    IRA KLEIMAN, as the personal representative                             CASE NO.: 9:18-cv-80176-BB
    of the Estate of David Kleiman, and W&K Info
    Defense
    Research, LLC

             Plaintiffs,

    v.

    CRAIG WRIGHT

             Defendant.

                                                   PLAINTIFFS’ AMENDED TRIAL EXHIBIT LIST1


    Exhibit                Bates/Document                                        Title                Defendant’s   Ruling   Admitted
                                                                                                      Objections
1               WITHDRAWN                                  WITHDRAWN
2               DEFAUS_00081546-                           Email from C. Wright to D. Kleiman re H; A
                DEFAUS_00081552                            Defamation and the difficulties of law
                                                           on the Internet, dated March 12, 2008
3               WITHDRAWN                                  WITHDRAWN

4                            N/A                           Professor Fautstus Twitter post dated      R; A
                                                           December 6, 2008
5                            N/A                           M. Relentless Twitter post                 H; R; A

1
    Plaintiffs’ reserve the right to introduce any document identified on Defendant’s exhibit list.


                                                                                     1
           Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 2 of 101




Exhibit         Bates/Document                      Title                 Defendant’s   Ruling   Admitted
                                                                           Objections
6         DEF_01369334-             Email from D. Kleiman to C. Wright re H; A
          DEF_01369337              21 wipe falacy, dated December 27,
                                    2008
7         DEF_00973364-             Craig S. Wright and Dave Kleiman,     H; A
          DEF_00973373              Scope of Work - Spyder extensions,
                                    dated January 8, 2009
8         KIMON_00000013-           Email from K. Andreou to I. Kleiman, H; MIL; UP
          KIMON_00000015            dated May 16, 2016
9         AVIN_00000311-            Email from S. Nakamoto to G.            H; R
          GAVIN_00000311            Andresen re Why From: unknown in
                                    the UI?, dated July 2, 2010
10        GAVIN_00001004-           Email from S. Nakamoto to G.            H; R
          GAVIN_00001004            Andresen re Why From: unknown in
                                    the UI?, dated July 3, 2010
11        GAVIN_00000265-           Email from G. Andresen to S.            H; R; A
          GAVIN_00000266            Nakamoto re Security hole, running-
                                    server and browsing web, dated July
                                    18, 2010
12        GAVIN_00000275-           Email from S. Nakamoto to G.            H; R; A
          GAVIN_00000293            Andresen te Patches for: bitcoin.conf
                                    file and HTTP Basic authentication,
                                    dated July 23, 2010 (See Andresen Tr.
                                    202:25, 203:1)
13        GAVIN_00000359-           Email from S. Nakamoto to G.            H; R; A
          GAVIN_00000359            Andresen re Two things: rpcpw, and
                                    svn:eol-style, dated August 29, 2010
14        GAVIN_00000251-           Email from S. Nakamoto to G.            H; R; A
          GAVIN_00000252            Andresen re Patches: return correct
                                    JSON error/HTTP status codes, and
                                    removed batch support, dated
                                    September 2, 2010


                                                       2
           Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 3 of 101




Exhibit         Bates/Document                      Title                   Defendant’s   Ruling   Admitted
                                                                             Objections
15        GAVIN_00000380-           Email from G. Andresen to S.            H; R; A
          GAVIN_00000383            Nakamoto re Shutdown on kill signal?,
                                    dated September 7, 2010
16        GAVIN_00000415-           Email from S. Nakamoto to G.            H; R; A
          GAVIN_00000415            Andresen re Updated JSON-HTTPS
                                    patch, dated October 8, 2010
17        GAVIN_00000641-           Email from G. Andresen to S.            H; R; A
          GAVIN_00000641            Nakamoto re testnet switch, dated
                                    October 18, 2010
18        GAVIN_00000253-           Email from S. Nakamoto to G.            H; R; A
          GAVIN_00000253            Andresen re Accounts, dated
                                    November 5, 2010
19        GAVIN_00000645-           Email from S. Nakamoto to G.            H; R; A
          GAVIN_00000646            Andresen re listtransactions, dated
                                    November 15, 2010
20        GAVIN_00000370-           Email from S. Nakamoto to G.            H; R; A
          GAVIN_00000370            Andresen re svn rev 181: I fixed the
                                    Mac FileVault performance bug, dated
                                    November 17, 2010
21        GAVIN_00000297-           Email from S. Nakamoto to G.            H; A; R
          GAVIN_00000299            Andresen re getchange.patch, dated
                                    November 26, 2010
22        WITHDRAWN                 WITHDRAWN

23        GAVIN_00000348-           Email from S. Nakamoto to G.           H; R; A
          GAVIN_00000349            Andresen re Project management:
                                    Satoshi doesn't scale?, dated December
                                    19, 2010
24        GAVIN_00000257-           Email from S. Nakamoto to G.           H; R; A
          GAVIN_00000257            Andresen re Client-only mode, sybil
                                    attack, dated December 23, 2010


                                                       3
           Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 4 of 101




Exhibit         Bates/Document                      Title                    Defendant’s   Ruling   Admitted
                                                                             Objections
25        KLEIMAN_00553177-         Email attaching W&K Info Defense
          KLEIMAN_00553180          Research LLC Florida Articles of
                                    Incorporation, dated February 14, 2011
          KLEIMAN_00562348-
          KLEIMAN_00562350
26        DEF_01854320-             Limited Liability Company Agreement H; A; CHAR
          DEF_01854337              of W&K Info Defense Research,
                                    February 15, 2011
27        WITHDRAWN                 WITHDRAWN

28        WITHDRAWN                 WITHDRAWN

29        WITHDRAWN                 WITHDRAWN

30        WITHDRAWN                 WITHDRAWN

31        DEFAUS_00093292-          Email from C. Wright to D. Kleiman re A; H
          DEFAUS_00093292           Reference, dated March 6, 2011
32        KLEIMAN_00561675-         Intellectual Property License Funding    H; A
          KLEIMAN_00561688          Agreement between C. Wright and
                                    W&K, dated April 22, 2011
33        GAVIN_00001553-           Email from S. Nakamoto to G.             H; R; A
          GAVIN_00001554            Andresen re alert message key, dated
                                    April 26, 2011
34        DEFAUS_00521088-          Panopticrypt Pty Ltd Certificate of      H; R; A;
          DEFAUS_00521091           Registration, dated June 20, 2011        CHAR




                                                        4
                  Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 5 of 101




    Exhibit               Bates/Document                                      Title                       Defendant’s          Ruling        Admitted
                                                                                                          Objections
                                                         1st Edman Report Ex. 55-
34.1                                                     DEFAUS_00521091.PDF.obj_14_0.pd
                                                         f2
                                                         1st Edman Report Ex. 57-
34.2                                                     DEFAUS_00521091.PDF.obj_15_0.pd
                                                         f
35              DEFHC_00002413-                          Email from D. Kleiman to C. Wright re H; A
                DEFHC_00002416                           Requested attached, dated June 24,
                                                         2011 Tulip Trust
36              DEF_00050985-                            Deed of Trust for Tulip Trust         H; R; A
                DEF_00050989
37              DEF_00056403-                            Email from D. Kleiman to C. Wright re H; A; IC
                DEF_00056407                             Requested attached, dated June 24,
                                                         2011. Tulip Trust
38              DEF_00027300-                            Email from D. Kleiman to C. Wright re H; R; CHAR;
                DEF_00027300                             Dickless, dated June 28, 2011         UP; A
                                                         1st Edman Report Ex. 43-
38.1                                                     DEF_00027300.PDF.obj_2_0-1.pdf
                                                         1st Edman Report Ex. 44-
38.2                                                     DEF_00027300.PDF.obj_2_0-2.pdf
                                                         1st Edman Report Ex. 45-
38.3                                                     DEF_00027300.PDF.obj_75_0.pdf
39              DEFAUS_00065530-                         Declaration of Trust, dated July 21,            H; R; A,
                DEFAUS_00065567                          2011                                            CHAR
                                                         Abacus (Seychelles) Limited
                                                         Incorporation Form, dated July 21,
                                                         2011

2
    As disclosed in his Report, the Edman metadata exhibit extenders are simply the metdata for the root document already included in the Exhibit List.


                                                                                  5
            Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 6 of 101




 Exhibit          Bates/Document                     Title                 Defendant’s   Ruling   Admitted
                                                                           Objections
                                     2nd Supp. Edman Report Ex.
39.1                                 105_DEF_00065561.PDF.obj_281.xref
                                     _stream_dictionary.PDF
                                     2nd Supp. Edman Report Ex.
39.2                                 108_ClockChangesinAustraliain2014.p
                                     df
                                     2nd Supp. Edman Report Ex.
39.3                                 109_DEFAUS_00065535.PDF.obj_15.
                                     PDF
                                     2nd Supp. Edman Report Ex.
39.4                                 110_DEFAUS_00065535.PDF.obj_34.
                                     PDF
                                     2nd Supp. Edman Report Ex.
39.5                                 111_DEFAUS_00065535.PDF.obj_16.
                                     decoded_stream.PDF
                                     2nd Supp. Edman Report Ex.
39.6                                 113_DEFAUS_00065535.PDF.obj_37.
                                     xref_stream_dictionary.PDF
40         WITHDRAWN                 WITHDRAWN
41         WITHDRAWN                 WITHDRAWN

42         DEF_00013808-             Email from C. Wright to S. Matthews   H; R; A; UP
           DEF_00013808              and R. Watts re This week, dated
                                     October 27, 2015
43         Edman Dep. Ex. 17         Email from R. Watts to C. Wright re   H; A
                                     Trusts, dated May 28, 2012
44         DEF_00264618-             Email from C. Wright to R.      H; R
           DEF_00264618              Radvanovksy re [!!] [SCADABOOK]
                                     Need your biographies by EOW



                                                        6
            Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 7 of 101




 Exhibit         Bates/Document                      Title                  Defendant’s   Ruling   Admitted
                                                                            Objections
                                     (Friday, June 15th)…, dated June 13,
                                     2012
45         KLEIMAN_00194012-         Email from C. Wright to D. Kleiman re H
           KLEIMAN_00194014          IFIP-WG11.9 CFP, dated October 10,
                                     2012
46         DEF_00023349-             Email from D. Kleiman to C. Wright re H; A
           DEF_00023349              Payment terms, dated October 11, 2012
47         DEF_01369890-             Companies House - D. Kleiman    H; R; A
           DEF_01369890              Appointment of Director, dated
                                     October 14, 2012
                                     2nd Supp. Edman Report Ex.
47.1                                 014_DEF_01369890.PDF.obj_44.PDF
                                     2nd Supp. Edman Report Ex.
47.2                                 015_DEF_01369890.PDF.obj_45.deco
                                     ded_stream.PDF
                                     2nd Supp. Edman Report Ex.
47.3                                 016_DEF_01369890.PDF
                                     2nd Supp. Edman Report Ex.
47.4                                 017_DEF_01369890.PDF.obj_6.decod
                                     ed_stream.PDF
48         DEF_00051504-             Deed of Loan between Design by        H; A
           DEF_00051512              Human Ltd., C. Wright and Denariuz
                                     Seychelles Trust, dated October 23,
                                     2012
49         DEF_00022208-             Email from C. Wright to D. Kleiman re H; A
           DEF_00022210              1st CFP - ICT and Informing Science
                                     and Engineering, dated October 26,
                                     2012



                                                        7
            Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 8 of 101




 Exhibit          Bates/Document                     Title                 Defendant’s   Ruling   Admitted
                                                                           Objections
50         WITHDRAWN                 WITHDRAWN

51         Warren Dep. Ex. P11       Warren Dep. Ex. P11                  H; R; COM

52         Warren Dep. Ex. P4        Warren Dep. Ex. P4                   H; R; COM
53         Warren Dep. Ex. P3        Warren Dep. Ex. P3                   H; R; COM

54         Warren Dep. Ex. P2        J. Warren, "Bitmessage: A Peer-to-    R; H
                                     Peer Message Authentication and
                                     Delivery System," dated November 27,
                                     2012
55         DEF_00022263-             Email from D. Kleiman to C. Wright re H; A
           DEF_00022264              Brits, dated December 15, 2012
                                     1st Edman Report Ex. 31-
55.1                                 DEF_00022263.PDF.obj_6_0.pdf
                                     1st Edman Report Ex. 32-
55.2                                 DEF_00022263.PDF.obj_57_0.decode
                                     d_stream.pdf
                                     1st Edman Report Ex. 33-
55.3                                 DEF_00022263.PDF-GPGOutput.pdf
56         DEFHC_00000041-           Email from D. Kleiman to C. Wright re H; A
           DEFHC_00000044            Divorce, dated January 16, 2013
57         Warren Dep. Ex. P5        Warren Dep. Ex. P5
                                                                          H; R
58         WITHDRAWN                 WITHDRAWN




                                                          8
            Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 9 of 101




 Exhibit         Bates/Document                      Title                  Defendant’s   Ruling   Admitted
                                                                             Objections
59         DEF_00028010-             Email from C. Wright to J. Chesher     H; A
           DEF_00028014              and R. Watts, Fwd of Email with D.
                                     Kleiman re "Divorce", Dated January
                                     23, 2013
60         WITHDRAWN                 WITHDRAWN

61         DEF_00027325-             Email from D. Kleiman to C. Wright re H; A
           DEF_00027325              Long time, dated February 2, 2013
62         DEF_00013675-             Contract for the Sale of Shares between H; A; CML
           DEF_00013718              D. Kleiman, C. Wright and W&K,
                                     dated April 2, 2013
                                     2nd Supp. Edman Report Ex.
62.1                                 128_DEF_00013675.msg.headers.PDF
63         DEFAUS_00671341-          Email from C. Wright to S. Matthews,   H
           DEFAUS_00671415           R. Watts, and V. Magnusson re coin-
                                     ex, dated November 16, 2015
                                     Coin-Exch Shareholder Agreement
64         DEFAUS_00662658-          Software Development Agreement         A; H; CML
           DEFAUS_00662726           between C. Wright, D. Kleiman and
                                     Strasan Pty Ltd, dated April 4, 2013
65         DEF_00029509-             Email from H. Khuu to C. Wright re     H; R; A;
           DEF_00029540              Cloudcroft Pty Ltd                     CHAR; P
                                     [SEC=UNCLASSIFIED], dated April
                                     5, 2013
66         DEFAUS_00708268-          Australian Securities & Investments    H; R; P
           DEFAUS_00708273           Commission - Change to Company
                                     Details - C01N PTY LTD, dated April
                                     22, 2013




                                                        9
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 10 of
                                                   101



 Exhibit          Bates/Document                      Title                 Defendant’s   Ruling   Admitted
                                                                            Objections
                                      2nd Supp. Edman Report Ex.
66.1                                  022_DEFAUS_00708272.obj_7.PDF
                                      2nd Supp. Edman Report Ex.
66.2                                  023_DEFAUS_00708272.obj_21.deco
                                      ded_stream.PDF
                                      2nd Supp. Edman Report Ex.
66.3                                  024_DEFAUS_00708272.obj_30.deco
                                      ded_stream.PDF
                                      2nd Supp. Edman Report Ex.
66.4                                  026_DEFAUS_00708272.obj_10.deco
                                      ded_stream.PDF
                                      2nd Supp. Edman Report Ex.
66.5                                  027_DEFAUS_00708272.obj_14.deco
                                      ded_stream.PDF
67         Boedeker Dep. Ex. 3        Excel Sheet summary that went into     H
                                      statistical tests (See Boedeker 15:20-
                                      22)
68         Boedeker Dep. Ex. 4        Expert Report of S. Boedeker Ex. B - H
                                      List of Materials Reviewed, dated
                                      April 10, 2020
69         Boedeker Dep. Ex. 5        Email from V. Freedman to Z. Kass re H
                                      Boedeker, dated April 21, 2020
70         DEF_01369891-2             Companies House - D. Kleiman          H; R
                                      Termination of Appointment of
                                      Director, dated April 26, 2013
                                      2nd Supp. Edman Report Ex.
70.1                                  018_DEF_01369891.obj_40.PDF
                                      2nd Supp. Edman Report Ex.
70.2                                  019_DEF_01369891.obj_41.decoded_
                                      stream.PDF


                                                         10
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 11 of
                                                   101



 Exhibit          Bates/Document                      Title                   Defendant’s   Ruling   Admitted
                                                                              Objections
                                      2nd Supp. Edman Report Ex.
70.3                                  021_DEF_01369891.obj_6.decoded_st
                                      ream.PDF
71         Boedeker Dep. Ex. 6        Email from V. Freedman to Z. Kass re H
                                      Boedeker, dated April 22, 2020
72         WITHDRAWN                  WITHDRAWN
73         WITHDRAWN                  WITHDRAWN

74         DEF_00023252-              Deed of Asssignment between Craig H; A; R
           DEF_00023262               Wright R&D and Strasan Pty Ltd,
                                      dated June 30, 2013
75         DEF_00031588-              Email from C. Wright to J. Wilson and H
           DEF_00031606               R. Watts re Initial Accounts, dated July
                                      2, 2013
76         DEF_00266797-              Email from C. Wright to R. Watts re R; UP
           DEF_00266797               Next, dated July 2, 2013
77         WITHDRAWN                  WITHDRAWN

78         DEF_00030127-              Email from C. Wright to Fhalyce        H; R; UP
           DEF_00030127               Dempster re Evidence, dated July 18,
                                      2013
79         WITHDRAWN                  WITHDRAWN



80         DEF_00267325-              Email from C. Wright to J. Alastair and H; R
           DEF_00267326               I. Brightwell re iVote Strategy for the
                                      NSW State General Election 2015,
                                      dated August 8, 2013


                                                         11
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 12 of
                                                  101



Exhibit          Bates/Document                       Title                  Defendant’s   Ruling   Admitted
                                                                              Objections
81        DEF_00043726-              Email from J. Wilson to J. Wilson, R.   H; R
          DEF_00043727               Watts and C. Wright re Pojects - To
                                     plan, dated August 11, 2013
82        WITHDRAWN                  WITHDRAWN

83        Warren Dep. Ex. P6         Warren Dep. Ex. P6                      H; R; A

84        WITHDRAWN                  WITHDRAWN

85        WITHDRAWN                  WITHDRAWN

86        DEF_00029293-              Deed of Assignment between The          H; A; R
          DEF_00029300               Wright Family Trust and Hotwire
                                     Preemptive Intelligence Pty. Ltd.,
                                     dated September 15, 2013
87        WITHDRAWN                  WITHDRAWN

88        DEFAUS_01582270-           Coin-Exch/Demorgan Assignment           H; A; R;
          DEFAUS_01582287                                                    CML
89        KLEIMAN_00559215-          Deed of Assignment between The          H; A; R
          KLEIMAN_00559222           Wright Family Trust and Cloudcroft
                                     Pty. Ltd., dated September 15, 2013
90        DEF_00045496-              Email from C. Wright to J. Wilson re H; R
          DEF_00045496               Urgent ASIC, dated September 20,
                                     2013
91        DEFAUS_00113043-           Email from C. Wright to R. Manu and H; R
          DEFAUS_00113045            J. Wilson re Advice, dated September
                                     23, 2013



                                                        12
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 13 of
                                                  101



Exhibit          Bates/Document                       Title                 Defendant’s   Ruling   Admitted
                                                                             Objections
92        DEF_00467687-              Email from S. Lipke to C. Wright, R.   H; R
          DEF_00467687               Urquhart, J. Wilaon, R. Watts and A.
                                     Pedersen re ATO Ruling, dated
                                     September 27, 2013
93        DEFAUS_00604334-           GST Calculation Worksheet              H; R
          DEFAUS_00604343
94        DEFAUS_00553926-           Email from C. Wright to J. Spears re   H; R
          DEFAUS_00553926            Discussion, dated October 2, 2013
95        DEFAUS_00702842-           Email from C. Wright to M. Italia, R. H; R
          DEFAUS_00702847            Watts, J. Wilson and M. Hardy re re
                                     Email 6 re Notification of Audit ABN
                                     48 164 068 348 w/ Attachments
96        DEF_00046098-              Email from C. Wright to M. Italia re  H; R
          DEF_00046149               Email 7 re Notification of audit ABN
                                     48 164 068 348, dated October 6, 2013
97        DEF_00025094-              Email from C. Wright to M. Hardy re H; R
          DEF_00025095               Discussion, dated October 9, 2013
98        DEF_01675338-              Email from C. Adams to R. Watts re H; R
          DEF_01675390               55 Hastings Rd.
99        Choi Dep. Ex. 4            Litigation Services Handbook: The     H
                                     Role of the Financial Expert, Chapter
                                     5, "Ex Ante Versus Ex Post Damages
                                     Calculations, by E. Evans and R. Weil
100       WITHDRAWN                  WITHDRAWN

101       DEF_00045457-              Email from C. Wright to M. Italia re H; R; CHAR;
          DEF_00045495               Notification of audit ABN 48 164 068 UP
                                     348, dated October 12, 2013



                                                        13
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 14 of
                                                   101



 Exhibit          Bates/Document                      Title                    Defendant’s   Ruling   Admitted
                                                                               Objections
102        DEFAUS_00108904-           Resignation Letter from J. Wilson to C. H; R
           DEFAUS_00108908            Wright, dated October 23, 2013
103        Choi Dep. Ex. 5            The Daily Hodl, "Massive Bitcoin        H; R; ILO;
                                      Whale Triggered BTC Surge With          SPEC
                                      $100 Million Order, Says Crypto
                                      Investment Firm CEO," dated April 2,
                                      2019
104        Wilson Dep. Ex. 20         Hotwire Preemptive Intelligence Pty H; R; A
                                      Ltd - Employee Remuneration
                                      Schedule, dated October 29, 2013
105        Pl. MSJ Ex. 5              Transcript of Craig Wright before       H; A
           [DE 511-10]                Registrar Bradford, dated October 30,
                                      2013 (Craig Dep. IV Ex. Z16)
106        WITHDRAWN                  WITHDRAWN

107        WITHDRAWN                  WITHDRAWN

108        WITHDRAWN                  WITHDRAWN

109        DEFAUS_01746855-           Email from S. Nakamoto to A.           H; A; R; P
           DEFAUS_01746877            Sommer re Fear of the future, dated
                                      January 9, 2014

                                      2nd Supp. Edman Report Ex.
109.1                                 040_DEFAUS_01746855.msg.headers.
                                      PDF
                                      2nd Supp. Edman Report Ex.
                                      041_WhoisTXTinformationandhistoryf
109.2
                                      orvistomail.com_SecurityTrails.com.p
                                      df


                                                         14
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 15 of
                                                  101



Exhibit         Bates/Document                        Title                 Defendant’s       Ruling   Admitted
                                                                             Objections
110       DEF_01913478-              Email from C. Wright to J. Chesher, A. H; R; P
          DEF_01913480               Sommer, and R. Watts re ATO notices
                                     received 21 January 2014
111       DEF_01913521-              Emai from C. Wright to J. Chesher, A. H; R; P
          DEF_01913522               Sommer and R. Watts re review of
                                     position.
112       DEFAUS_00516701-           Email from C. Wright to B. Wright re H
          DEFAUS_00516702            Intro, dated January 29, 2014
113       DEFAUS_00517436-           Email from C. Wright to S. Matthew re H; R
          DEFAUS_00517476            what we are doing.
114       DEF_00723975-              Email from C. Wright to R. Watts, A.      H; R
          DEF_00723976               Pedersen, R. MacGregor re Bodog
115       DEFAUS_01747134-           Email from C. Wright to J. Chesher, A.    H; R; UP; P;
          DEFAUS_01747136            McCaughan, J. Slater and N. Mavrakis      A
                                     re Beer and congrats, dated February 3,
                                     2014
116       DEFAUS_01570588-           Email from C. Wright to J. Chesher, A.    H; R; A;
          DEFAUS_01570591            McCaughan, J. Slater ad N. Mavrakis       CHAR
                                     re reciept, dated February 3, 2014
117       KLEIMAN_00008178-          Email from L. Kleiman to C. Wright re     H; A
          KLEIMAN_00008179           Dave, dated February 12, 2014
118       DEFHC_01519029-            Powerpoint Presentation prepared for H; R
          DEFHC_01519077             ATO
119       DEFAUS_00112712-           Email from C. Wright to I. Kleiman re H
          DEFAUS_00112713            Dave, dated February 15, 2014
120       DEFAUS_00112899-           Email from C. Wright to I. Kleiman re A; H; CML
          DEFAUS_00112941            Dave, dated February 15, 2014
121       KLEIMAN_00035329-          Email from P. Paige to C. Conrad re       H
          KLEIMAN_00035335           Difficult, dated February 16, 2014


                                                        15
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 16 of
                                                  101



Exhibit          Bates/Document                      Title                  Defendant’s   Ruling   Admitted
                                                                             Objections
122       DEFAUS_00112977-           Email from C. Wright to P. Paige re    H
          DEFAUS_00112980            Difficult, dated February 17, 2017
123       WITHDRAWN                  WITHDRAWN

124       DEFHC_00001030-            Email from I. Kleiman to C. Wright re H; R
          DEFHC_00001031             AGMO COE in IPv6.pptx, dated
                                     February 18, 2014
125       PAIGE_00002988-            Email from P. Paige to I. Kleiman re H; R
          PAIGE_00002991             what's up, dated February 18, 2014
126       PAIGE_00002979-            Email from I. Kleiman to P. Paige re   H; R
          PAIGE_00002983             what's up, dated February 20, 2014
127       DEF_00051768-              Record of Interview of J. Chesher by H; R; UP; A;
          DEF_00051820               ATO Auditor A. Miller, dated
                                     February 26, 2014
128       DEFAUS_00068503-           Email from D. Kleiman to C. Wright re H; A
          DEFAUS_00068504            We have now a company in the UK,
                                     dated February 28, 2014
129       KLEIMAN_00561744-          Email from C. Wright to I. Kleiman re H; A
          KLEIMAN_00561747           Bond villains, dated March 2, 2014
130       WITHDRAWN                  WITHDRAWN

131       DEFAUS_00115729-           Email from C. Wright to I. Kleiman re H; A
          DEFAUS_00115731            FW: New year and all, dated March 7,
                                     2014
132       Andresen Dep. Ex. 59       WSJ Moneybeat Blog by M. Casey,       H; R; SPEC
                                     "Bitcoin Foundation's Andresen on
                                     Working With Satoshi Nakamoto,"
                                     dated March 6, 2014



                                                        16
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 17 of
                                                   101



 Exhibit         Bates/Document                        Title                Defendant’s   Ruling   Admitted
                                                                             Objections
133        DEFAUS_00068579-           Email from C. Wright to I. Kleiman re H; R; A
           DEFAUS_00068580            This week, dated March 7, 2014
134        DEFAUS_00115700-           Email from C. Wright to I. Kleiman re H; SPEC; A;
           DEFAUS_00115714            RDPlan - Integyrs.doc, dated March 7, CHAR
                                      2014
135        DEF_00028008-              Email from C. Wright to J. Chesher re H; A
           DEF_00028009               Bond villians, dated March 10, 2014
                                      1st Edman Report Ex. 28-
135.1                                 DEF_00028008.mht.txt-
                                      GPGOutput.pdf
136        DEF_00051010-              Ciudad del Saber Invoice sent to C.   H; R; A;
           DEF_00051011               Wright, dated March 10, 2014          CHAR
137        DEF_00068419-              Questions from the ATO about W&K H; R; A
           DEF_00068425               Letter from J. O 'Halloran to C. Wright
                                      and J. Chesher re Questions relating to
                                      our audit, dated March 11, 2014
138        DEFAUS_00115888-           Email from C. Wright to I. Kleiman re H; A
           DEFAUS_00115896            Coin-Exch Balance Sheet, dated March
                                      11, 2014
139        DEFAUS_00115950-           Email from I. Kleiman to C. Wright re H; A
           DEFAUS_00115956            Another, dated March 11, 2014
140        DEF_01915128-              Email from C. Wright to A. Sommer H; R; A; P
           DEF_01915143               and R. Watts re Draft Answer -
                                      Demorgan and CSW, dated March 16,
                                      2014 with attachment
141        DEF_01913824-              Email from C. Wright to A. Sommer H; R; A; P
           DEF_01913840               and R. Watts re Draft Answer -
                                      Demorgan and CSW, dated March 16,
                                      2014 with attachment


                                                         17
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 18 of
                                                  101



Exhibit         Bates/Document                       Title                   Defendant’s    Ruling   Admitted
                                                                             Objections
142       DEF_01700403-              Email from C. Wright to J. Chesher, R. P; H
          DEF_01700403               Watts, and A. Sommer re
                                     L11000019904, dated March 24, 2014
143       DEF_00053141-              Email from C. Wright to R. Watts re H; R; UP; A
          DEF_00053238               Transcript of Interview - 28 March
                                     2014 [DLM=Sensitive], dated April
                                     23, 2014; Transcript of Craig Wright
                                     ATO Interview, dated March 28, 2014
144       WITHDRAWN                  WITHDRAWN

145       DEF_01914160-              Email from C. Wright to J. Chesher, R.   H; P; A;
          DEF_01914161               Watts, and A. Sommer re UK - Design      COM
                                     by Human, dated April 1, 2014
146       DEF_01914162-              Email from C. Wright to J. Chesher, R.   H; P
          DEF_01914165               Watts, and A. Sommer re CFS
                                     International Formations, dated April
                                     1, 2014
147       DEFAUS_01859467-           Email from C. Wright to J. Chesher, R.   P; H
          DEFAUS_01859468            Watts, A. Pedersen and A. Sommer re
                                     code, dated April 1, 2014
148       DEFAUS_00559278-           Hotwire PE - WKID Cost Estimation        H; R; SPEC;
          DEFAUS_00559291                                                     ILO; A
149       DEFAUS_01859475-           Email from C. Wright to J. Chesher       H; P
          DEFAUS_01859476            and A. Sommer re UK - design by
                                     human, dated April 2, 2014
150       DEFAUS_01859492-           Email from C. Wright to A. Sommer, J. P; H
          DEFAUS_01859492            Chesher, and R. Watts re Points re
                                     Coin Exch, dated April 9, 2014
151       DEF_00013767-              Email from C. Wright to I. Kleiman re H; ILO;
          DEF_00013807               WKID Software Evaluation, dated       SPEC; CML
                                     April 15, 2014


                                                        18
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 19 of
                                                  101



Exhibit         Bates/Document                       Title             Defendant’s         Ruling   Admitted
                                                                        Objections
152       DEFAUS_01565207-           Email from Ut Ng to Andrew Sommer H; R; A
          DEFAUS_01565210            re "nomination letter by dave"
153       DEFAUS_01859521-           Email from C. Wright to A. Sommer, H; P
          DEFAUS_01859523            R. Watts, and A. Pedersen re Hotwire
                                     Core Technology, dated April 16, 2014
154       WITHDRAWN                  WITHDRAWN

155       DEF_01914239-              Email from J. Chesher to C. Wright, R. H; R; P
          DEF_01914239               Watts and A. Sommer re NSWSC
                                     transactions, dated April 23, 2014
156       DEFAUS_00118869-           Email from C. Wright to I. Kleiman re H; A; R408
          DEFAUS_00118883            Questions, dated April 23, 2014
157       DEFAUS_00119167-           Email from C. Wright to I. Kleiman re H; A; CML;
          DEFAUS_00119185            Questions, dated April 23, 2014       SPEC; R408
158       DEFAUS_00119230-           Email from C. Wright to I. Kleiman re   H; A; SPEC;
          DEFAUS_00119251            Questions, dated April 23, 2014         R408; BER
159       DEFAUS_00119296-           Email from C. Wright to I. Kleiman re   H; A; SPEC;
          DEFAUS_00119318            Questions, dated April 23, 2014         R408
160       DEFAUS_00627954-           Email from C. Wright to I. Kleiman re   H; A; R408
          DEFAUS_00627977            Questions, dated April 23, 2014
161       DEFAUS_00628077-           Email from C. Wright to I. Kleiman re H; A; SPEC;
          DEFAUS_00628102            Questions, dated April 23, 2014       R408
162       KLEIMAN_00000136-          Email from C. Wright to I. Kleiman re   H; A; CML
          KLEIMAN_00000157           Questions, dated April 23, 2014         R408; UP
163       KLEIMAN_00000270-          Email from C. Wright to I. Kleiman re   H; A; CML;
          KLEIMAN_00000294           Questions, dated April 23, 2014         R408




                                                        19
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 20 of
                                                   101



 Exhibit         Bates/Document                       Title                 Defendant’s   Ruling   Admitted
                                                                             Objections
164        KLEIMAN_00004809-          Email from C. Wright to I. Kleiman re H; R; A
           KLEIMAN_00004812           Chronology of Craig Wright, dated
                                      April 25, 2014
165        WITHDRAWN                  WITHDRAWN

166        DEF_01605214-              Email from C. Wright to A. McCabe,      H; SPEC;
           DEF_01605269               A. McEvoy and R. Watts re WKID          ILO; CML;
                                      Software valuation, dated May 16,       A: UP
                                      2014
167        KLEIMAN_00278108-          Email from I. Kleiman to C. Wright re   H
           KLEIMAN_00278110           memory recall, dated May 20, 2014
168        WITHDRAWN                  WITHDRAWN
169        DEFAUS_00713213-           Letter from C. Wright to U. Nguyen re H; R; A;
           DEFAUS_00713266            C01N Deed of Loan, dated June 27,     CHAR
                                      2014
170        DEF_01596539-              W&K Account Overview on High          H; CHAR
           DEF_01596540               Secured, dated June 30, 2014
                                      2nd Supp. Edman Report Ex.
170.1                                 049_DEF_01596539.PDF.obj_92.PDF
                                      2nd Supp. Edman Report Ex.
170.2                                 050_DEF_01596539.PDF.obj_93.deco
                                      ded_stream.PDF
                                      2nd Supp. Edman Report Ex.
170.3                                 051_DEF_01596539.PDF.obj_105.dec
                                      oded_stream.PDF
                                      2nd Supp. Edman Report Ex.
170.4                                 052_DEF_01596539.PDF.obj_12.deco
                                      ded_stream.PDF



                                                         20
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 21 of
                                                   101



 Exhibit         Bates/Document                       Title                  Defendant’s    Ruling   Admitted
                                                                             Objections
                                      2nd Supp. Edman Report Ex.
170.5                                 053_DEF_01596539.PDF.obj_2.decod
                                      ed_stream.PDF
                                      2nd Supp. Edman Report Ex.
170.6                                 054_PortalHome-WHMCSDemo.pdf
                                      2nd Supp. Edman Report Ex.
170.7                                 055_Demo_WHMCS.pdf
171        DEFAUS_01860640-           Email with attached Draft Witness      H; R; P; UP;
           DEFAUS_01860663            Statement of Dr. Craig Wright          CHAR
172        DEFAUS_00068665-           Transcript of ATO Interview of C.      H; R; A;
           DEFAUS_00068710            Wright, dated August 11, 2014          BER; UP;
                                                                             SPEC
173        DEFAUS_00560317-           Transcript of ATO Interview of C.      H; R; A;
           DEFAUS_00560362            Wright, dated August 18, 2014          BER; UP;
                                                                             SPEC
174        WITHDRAWN                  WITHDRAWN



175        DEFAUS_01861428-           Email from C. Wright to R. Watts and   H; R; P;
           DEFAUS_01861429            A. Sommer re Our meeting Monday,       CHAR
                                      dated September 17, 2014
176        DEF_01597497-              Email from C. Wright to K. Unger re    H; R; UP;
           DEF_01597537               Statement, dated September 22, 2014    CHAR
177        DEF_00022355-              Associations between Craig Wright, H
           DEF_00022356               related entities W&K
178        DEF_01597059-              Email from C. Wright to KPMG re    H; UP; P
           DEF_01597060               CO1N ATO Review, dated October 11,
                                      2014



                                                         21
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 22 of
                                                  101



 Exhibit         Bates/Document                     Title                   Defendant’s   Ruling   Admitted
                                                                             Objections
179        DEFAUS_00519694-          Abacus (Seychelles) Limited Invoice    H; R; CHAR
           DEFAUS_00519698           sent to C. Wright, dated October 17,
                                     2014
                                     2nd Supp. Edman Report Ex.
179.1                                028_DEFAUS_00519695.PDF.obj_14
                                     2.PDF
                                     2nd Supp. Edman Report Ex.
179.2                                029_DEFAUS_00519695.PDF.obj_14
                                     3.decoded_stream.PDF
                                     2nd Supp. Edman Report Ex.
179.3                                030_DEFAUS_00519695.PDF.obj_4.d
                                     ecoded_stream.PDF
                                     2nd Supp. Edman Report Ex.
179.4                                032_DEFAUS_00519698.PDF.obj_12
                                     9.PDF
                                     2nd Supp. Edman Report Ex.
179.5                                033_DEFAUS_00519698.PDF.obj_14
                                     3.PDF
                                     2nd Supp. Edman Report Ex.
179.6                                034_DEFAUS_00519698.PDF.obj_14
                                     4.decoded_stream.PDF
                                     2nd Supp. Edman Report Ex.
179.7                                035_DEFAUS_00519698.PDF.obj_4.d
                                     ecoded_stream.PDF
                                     2nd Supp. Edman Report Ex.
179.8                                038_DEFAUS_00519698.PDF.trailer.
                                     PDF
180        WITHDRAWN                 WITHDRAWN




                                                       22
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 23 of
                                                   101



 Exhibit         Bates/Document                       Title                   Defendant’s   Ruling   Admitted
                                                                               Objections
181        DEFAUS_00519816-           Email from Lee to C. Wright re          H
           DEFAUS_00519817            valuation, dated October 28, 2014
182        DEF_00041965-              Certificate for Advance Finding…re      H; A
           DEF_00041972               Coin-Exch, dated November 6, 2014
183        DEFAUS_00714072-           Email from R. Watts to C. Wright and    H; A; ILO;
           DEFAUS_00714111            S. Matthews re Valuation, with          SPEC
                                      attachment Software Engineering
                                      Valuation, dated November 13, 2014
184        GAVIN_00001296-            Email from J. Brady to G. Andresen re   H; R; A
           GAVIN_00001297             Core Code, dated November 25, 2014
185        WITHDRAWN                  WITHDRAWN

186        DEF_00239622-              Email from C. Wright to Grays Invoice H; R; CHAR
           DEF_00239623               re Grays - Your Paid Invoice 2091381-
                                      26, dated December 5, 2014
                                      2nd Supp. Edman Report Ex.
186.1                                 122_DEF_00239622.msg.headers.PDF
187        DEF_01896241-              Email from C. Wright to A. Sommer       P; R; H
           DEF_01896242               and R. Watts re bitmessage , dated
                                      December 31, 2014
188        DEFAUS_01864463-           Email from C. Wright to A. Sommer       P; H; A
           DEFAUS_01864464            and R. Watts re C01N supporting,
                                      dated February 1, 2015
189        DEF_01097415-              Email from C. Wright to R. Watts re     H; UP
           DEF_01097415               ATO Game, dated February 4, 2015
190        DEF_00056567-              Email from A. Pedersen to C. Wright H; R; UP
           DEF_00056574               and Ramona Watts re preparation for
                                      ATO meetings, dated March 26, 2015



                                                         23
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 24 of
                                                   101



 Exhibit         Bates/Document                       Title                   Defendant’s   Ruling   Admitted
                                                                              Objections
191        DEFAUS_01867166-           Emaiil from H. Miller to C. Wright, R. H; R; P
           DEFAUS_01867167            Watts, and A. Sommer re meeting -
                                      possible investor, dated April 17, 2015
192        DEF_01591420-              Email from R. De Gracia to C. Wright, H; R; UP; P;
           DEF_01591420               R. Watts, H. Miller and A. Sommer re CHAR
                                      Bitmessage, dated Apirl 28, 2015
                                      2nd Supp. Edman Report Ex.
192.1                                 079_DEF_01591420.msg.headers.PDF
                                      2nd Supp. Edman Report Ex.
192.2                                 080_DEF_01591420.msg.gpg_output.
                                      PDF
193        DEF_01616105-              Email from R. De Gracia to A.       H; R; UP; P;
           DEF_01616106               Sommer, H. Miller and R. Watts re   CHAR
                                      Email contact, dated April 28, 2015
                                      2nd Supp. Edman Report Ex.
193.1                                 057_DEF_01616105.msg.headers.PDF
                                      2nd Supp. Edman Report Ex.
193.2                                 058_HighSecured-
                                      ContactUs_20150503174809.pdf
                                      2nd Supp. Edman Report Ex.
193.3                                 059_Whois_History-highsecured.net-
                                      2001-11-14.PDF
                                      2nd Supp. Edman Report Ex.
193.4                                 060_Whois_History-highsecured.net-
                                      2007-5-07.PDF
                                      2nd Supp. Edman Report Ex.
193.5                                 061_Whois_History-highsecured.net-
                                      2008-2-28.PDF




                                                        24
           Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 25 of
                                                101



 Exhibit      Bates/Document                      Title                 Defendant’s   Ruling   Admitted
                                                                        Objections
                                   2nd Supp. Edman Report Ex.
193.6                              062_Whois_History-highsecured.net-
                                   2013-4-28.PDF
                                   2nd Supp. Edman Report Ex.
193.7                              063_Whois_History-highsecured.net-
                                   2015-4-27.PDF
                                   2nd Supp. Edman Report Ex.
193.8                              064_Whois_History-highsecured.net-
                                   2015-6-04.PDF
                                   2nd Supp. Edman Report Ex.
193.9                              065_Whois_History-highsecured.net-
                                   2016-4-29.PDF
                                   2nd Supp. Edman Report Ex.
193.10                             066_Whois_History-highsecured.com-
                                   2006-12-12.PDF
                                   2nd Supp. Edman Report Ex.
193.11                             067_Whois_History-highsecured.com-
                                   2007-2-21.PDF
                                   2nd Supp. Edman Report Ex.
193.12                             068_Whois_History-highsecured.com-
                                   2013-1-22.PDF
                                   2nd Supp. Edman Report Ex.
193.13                             069_Whois_History-highsecured.com-
                                   2013-3-21.PDF
                                   2nd Supp. Edman Report Ex.
193.14                             070_Whois_History-highsecured.com-
                                   2015-4-26.PDF
                                   2nd Supp. Edman Report Ex.
193.15                             071_Whois_History-highsecured.com-
                                   2015-5-05.PDF



                                                    25
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 26 of
                                                   101



 Exhibit         Bates/Document                       Title                 Defendant’s   Ruling   Admitted
                                                                            Objections
                                      2nd Supp. Edman Report Ex.
193.16                                072_HistoricalmailMXrecordsforhighs
                                      ecured.net_SecurityTrails.com.pdf
                                      2nd Supp. Edman Report Ex.
193.17                                077_DEF_01616105.msg.public_key.P
                                      DF
                                      2nd Supp. Edman Report Ex.
193.18                                078_DEF_01616105.msg.public_key.g
                                      pg_output.PDF
194        DEF_01587950-              Email from HighSecured to A.          H; R; UP;
           DEF_01587950               Sommer re Privilege Asserted, dated   CHAR
                                      May 3, 2015
195        DEF_01588028-              Email from HighSecured to A.          H; R; UP;
           DEF_01588028               Sommer re Privilege Asserted, dated   CHAR
                                      May 3, 2015
                                      2nd Supp. Edman Report Ex.
195.1                                 095_DEF_01588028.msg.headers.PDF
                                      2nd Supp. Edman Report Ex.
195.2                                 096_DEF_01588028.msg.gpg_output.
                                      PDF
196        WITHDRAWN                  WITHDRAWN

197        WITHDRAWN                  WITHDRAWN

198        DEF_01675811-              Email from A. Pedersen to C. Wright   H; R; A
           DEF_01675902               and Ramona Watts re MacQuarie
                                      Bank, dated May 4, 2015, with
                                      attachments.




                                                        26
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 27 of
                                                   101



 Exhibit         Bates/Document                       Title                Defendant’s     Ruling   Admitted
                                                                            Objections
199        DEF_01587951-DEF_0         Email from R. De Gracia to C. Wright H; R; CHAR
           005196952                  re HighSecured.com, dated May 6,
                                      2015
                                      2nd Supp. Edman Report Ex.
199.1                                 082_DEF_01587951.msg.headers.PDF
                                      2nd Supp. Edman Report Ex.
199.2                                 085_KeyID5D303347E3C7665F.gpg_
                                      output.PDF
200        DEFAUS_00550141-           Email from M. Seven to C. Wright re H; R; UP
           DEFAUS_00550142            Email, dated May 21, 2015
201        DEF_01899887-              Email from R. Watts to C. Wright re H; R
           DEF_01899887               coin response, dated May 22, 2015
202        DEF_00051013-              Invoice from Clayton Utz for Amended H; R; CHAR
           DEF_00051013               Contract to R. Watts, dated May 25,
                                      2015
                                      1st Edman Report Ex. 29-
202.1                                 DEF_00051013.PDF.obj_14_decoded_
                                      stream.pdf---
                                      1st Edman Report Ex. 30- COLOR --
202.2                                 DEF_00051013.HIGHLIGHTED_EDI
                                      TS.pdf-
203        DEF_01899834-              Email from C. Wright to A. Sommer, P; H; UP
           DEF_01899834               H. Miller, and R. Watts re Agreement -
                                      para 19
204        DEF_01222659-              Email from R. De Gracia to A.          H; R; P; A;
           DEF_01222661               Sommer re Invoice, dated May 27,       CHAR
                                      2015
                                      2nd Supp. Edman Report Ex.
204.1                                 087_DEF_01222659.msg.headers.PDF



                                                        27
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 28 of
                                                   101



 Exhibit         Bates/Document                      Title                 Defendant’s   Ruling   Admitted
                                                                           Objections
                                      2nd Supp. Edman Report Ex.
204.2                                 088_DEF_01222661.pdf.sig.gpg_outp
                                      ut.PDF
                                      2nd Supp. Edman Report Ex.
204.3                                 089_DEF_01222660.PDF.obj_2.PDF
205        DEF_01588060-              Email from HighSecured to A.        H; R; UP; P;
           DEF_01588061               Sommer re Digital Evidence (Final), A; CHAR
                                      dated May 30, 2015
                                      2nd Supp. Edman Report Ex.
205.1                                 097_DEF_01588060.msg.headers.PDF
                                      2nd Supp. Edman Report Ex.
205.2                                 098_DEF_01588060.msg.gpg_output.
                                      PDF
                                      2nd Supp. Edman Report Ex.
205.3                                 099_DEF_00065561.PDF.obj_73.PDF
                                      2nd Supp. Edman Report Ex.
205.4                                 100_DEF_00065561.PDF.obj_278.PD
                                      F
                                      2nd Supp. Edman Report Ex.
205.5                                 101_DEF_00065561.PDF.obj_75.deco
                                      ded_stream.PDF
                                      2nd Supp. Edman Report Ex.
205.6                                 102_DEF_00065561.PDF.obj_112.dec
                                      oded_stream.PDF
                                      2nd Supp. Edman Report Ex.
205.7                                 103_DEF_00065561.PDF.obj_168.dec
                                      oded_stream.PDF




                                                        28
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 29 of
                                                  101



Exhibit         Bates/Document                        Title               Defendant’s      Ruling   Admitted
                                                                           Objections
206       DEF_01588062-              Email from R. De Garcia to A.        H; R; UP; P;
          DEF_01588064               Sommer re Letter, dated May 30, 2015 COM; CHAR


207       DEF_01608290-              Email from T. Murray to C. Wright       H; R; UP; P
          DEF_01608294               and Ramona Watts re prepayment,
                                     dated June 3, 2015
208       WITHDRAWN                  WITHDRAWN



209       DEFAUS_01868452-           Email from C. Ayre to C. Wright, S.     H; R; P
          DEFAUS_01868453            Matthews, JLP, M. Bianchi, Dr. Errol
                                     Cort re thinking from last night, dated
                                     June 10, 2015
210       DEFAUS_00651315-           Skype between C. Wright and S.          H; R
          DEFAUS_00651315            Matthews, June 14, 2015


211       DEFAUS_01062646-           Email from C. Ayre to C. Wright re      H; R
          DEFAUS_01062647            Letter of Intent, dated June 14, 2015
212       DEF_00023318-              Email from C. Wright to U Ng, R.        R; H
          DEF_00023319               Watts re ATO request, dated June 18,
                                     2015
213       DEF_00175405-              Email from C. Wright to C. Ayre, S.     H; R
          DEF_00175406               Matthews, and JLP re for 1:30
                                     meeting, dated June 18, 2015
214       DEF_00722915-              Email from C. Wright to C. Ayre, S.     H; R
          DEF_00722917               Matthews, and C. Hoffman re Letter of
                                     Intent, dated June 18, 2015




                                                        29
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 30 of
                                                   101



 Exhibit         Bates/Document                       Title                   Defendant’s   Ruling   Admitted
                                                                               Objections
215        DEF_01674223-              Email from C. Wright to C. Ayre re      H; R
           DEF_01674225               OK…finished first cut of thr LOI just
                                      now, dated June 20, 2015
                                      2nd Supp. Edman Report Ex.
215.1                                 138_DEF_01674223.msg.headers.PDF
216        DEFAUS_00651738-           Email from C. Ayre to C. Wright and     H; R; P
           DEFAUS_00651738            C. Hoffman re can one of you guys…,
                                      dated June 20, 2015
217        DEFAUS_01585291-           Email from C. Ayre to C. Wright re      H; A; R
           DEFAUS_01585293            OK…finished first cut of the LoI just
                                      now, dated June 20, 2015
218        DEF_01103312-              Email from R. Watts to I. Kleiman re    H; R; UP
           DEF_01103315               questions, dated June 22, 2015
219        DEFAUS_01581818-           Email from C. Ayre to C. Wright re      H; R
           DEFAUS_01581831            OK…finished first cut of the LoI just
                                      now, dated June 22, 2015
                                      ATTACHMENTS:
                                      DEFAUS_01581821- Budget.xlsx,
                                      DEFAUS_01581822- Summary of
                                      Issues and Position
220        WITHDRAWN                  WITHDRAWN

221        DEF_01103285-              Email from R. Watts to I. Kleiman re H; R; UP
           DEF_01103291               questions, dated June 23, 2015
222        DEF_01103305-              Email from R. Watts to C. Wright re H
           DEF_01103309               Questions, dated June 23, 2015
223        DEF_00052514-              Email from C. Wright to R. Watts re   H; R
           DEF_00052525               Transcript and Meeting Minutes, dated
                                      June 24, 2015



                                                         30
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 31 of
                                                  101



Exhibit         Bates/Document                        Title                    Defendant’s   Ruling   Admitted
                                                                                Objections
224       DEF_00175399-              Email from C. Wright to S. Matthews       H
          DEF_00175399               and R. Watts re things to send to
                                     Stefan, dated June 24, 2015
225       DEF_00022384-              Email from R. Watts to S. Matthews re     H; A
          DEF_00022384               Minority shareholder - Ira Kleiman,
                                     dated June 27, 2015
226       DEF_00022534-              Email from S. Matthews to R. Watts re     H; A
          DEF_00022534               Minority Shareholder - Ira Kleiman,
                                     dated June 27, 2015
227       DEF_00004842-              Email from S. Matthews to C. Wright       H; R
          DEF_00004843               and R. Watts re coin-ex, dated June 28,
                                     2015 with attachments
228       DEF_01103056-              Email from R. Watts to C. Wright re       H; R
          DEF_01103056               coin-ex, dated June 28, 2015
229       DEF_00074670-              Email from R. Macgregor to C. Ayre,       H; R
          DEF_00074676               S. Matthews, C. Wright & R. Watts re
                                     Congratulation, dated June 29, 2015
230       DEF_01108619-              Technical services agreement between      R; H
          DEF_01108638               DeMorgan and DR Technologies
231       DEF_00022372-              Email from R. Watts to S. Matthews re H; R; A
          DEF_00022372               Conciliatory words, dated June 30,
                                     2015
232       DEF_01103043-              Email from R. Watts to S. Matthews re H; R
          DEF_01103049               Ira, dated June 30, 2015
233       DEFAUS_00714412-           Email from R. Watts to I. Kleiman re H; A
          DEFAUS_00714418            more questions, dated June 30, 2015
234       DEF_01103005-              Email from R. Watts to C. Wright re H; UP; SPEC;
          DEF_01103024               report for Ira, dated July 1, 2015     CHAR; MIL
235       DEF_00002142-              Coin-Exch Balance sheet as of June 30, R
          DEF_00002143               2014


                                                        31
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 32 of
                                                  101



Exhibit         Bates/Document                        Title                  Defendant’s    Ruling   Admitted
                                                                             Objections
236       WITHDRAWN                  WITHDRAWN

237       WITHDRAWN

238       DEF_01894962-              Email from R. Watts to C. Wright re     H; UP; R; P;
          DEF_01894971               without prejudice, dated July 4, 2015   CHAR; ILO
239       DEF_01896866-              Email from S. Matthews to C. Wright H; UP; R; P;
          DEF_01896867               and R. Watts re Latest development,   CHAR; ILO
                                     dated July 5, 2015
240       DEFAUS_01868822-           Email from R. Watts to C. Wright re H; R; UP;
          DEFAUS_01868824            Termination of Engagement, dated July CHAR, ILO;
                                     6, 2015                               P
                                     attachment: Letter from A. Sommer to
                                     R. Watts re DeMorgan Limited -
                                     Termination of engagement
241       DEF_00022360-              Email from R. Watts to S. Matthews re H; A
          DEF_00022361               Proposal, dated July 8, 2015
242       DEF_01602580-              Email from R. Watts attaching Meeting H; A; R; UP;
          DEF_01602580               Minutes of Hotwire                    CHAR; MIL

          [Attachment]
          DEF_01890842-
          DEF_01890844
243       DEF_01896837-              Email from S. Matthews to R. Watts re H; R; A; P
          DEF_01896838               W&K questions, dated July 9, 2015
244       DEFAUS_00654061-           Email from C. Wright to S. Matthews     H; SPEC; R
          DEFAUS_00654079            re Questions, dated July 14, 2015




                                                        32
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 33 of
                                                  101



Exhibit         Bates/Document                        Title                   Defendant’s   Ruling   Admitted
                                                                               Objections
245       DEFAUS_00654224-           Email between C. Ayre to R.              H; R
          DEFAUS_00654225            Macgregor, S. Matthews, C. Wright re
                                     Project Wintermute, dated July 14,
                                     2015
246       DEF_00022426-              Email from S. Savanah to C. Wright,      H; R; A
          DEF_00022432               A. Pedersen, R. Watts, and S.
                                     Matthews re Demorgan patent-
                                     research, dated July 20, 2015
                                     ATTACHMENT: DEF_00022428-
                                     DeMorgan Patent Schedule,
                                     DEF_00022432-Patent Roadmap
247       DEFAUS_00654407-           Email from C. Ayre to C. Wright et al.   H; R
          DEFAUS_00654407            re interesting times, dated July 23,
                                     2015
248       DEF_01607617-              Email from S. Matthews to C. Wright      H; R; P;
          DEF_01607617               and Ramona Watts re Hotwire, dated       SPEC; ILO
                                     July 24, 2015, with attachments
          [Unredacted
          Attachment]
          DEF_01896721-
          DEF_01896725
249       DEF_01108594-              Email from S. Matthews to R. Watts re H; R; A
          DEF_01108598               relocation, dated August 4, 2015
250       DEF_01108545-              Email from S. Matthews to R. Watts re H; A
          DEF_01108577               Hotwire IP Deed of Assignment, dated
                                     August 10, 2015
251       DEFAUS_00658446-           Email from C. Ayre to C. Wright et al. H; R
          DEFAUS_00658446            re Dr Craig, has McAffee been reading
                                     your mind?, dated August 21, 2015




                                                        33
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 34 of
                                                  101



Exhibit         Bates/Document                       Title                  Defendant’s   Ruling   Admitted
                                                                             Objections
252       DEFAUS_01073764-           Email from C. Ayre to C. Wright et al. H; R
          DEFAUS_01073764            re I want to open up…, dated August
                                     21, 2015
253       WITHDRAWN                  WITHDRAWN

254       DEF_01896453-              Email from S. Matthews to V.          H; A; P;
          DEF_01896475               Magnusson re Response to requested    SPEC; ILO;
                                     details, dated August 26, 2015 with   R; CHAR;
                                     attachment. Baker & McKenzie - RFI
                                     List
255       DEFAUS_00553689-           Email from S. Matthews to C. Wright   H
          DEFAUS_00553690            re Communication, dated August 26,
                                     2015
256       DEF_01613729-              Email from S. Matthews to C. Wright   H
          DEF_01613730               and Ramona Watts re communication,
                                     dated August 28, 2015
257       DEFAUS_00716022-           Email email from C. Wright to S.      H
          DEFAUS_00716023            Matthews and R. Watts re coin-ex,
                                     dated August 28, 2015
258       KLEIMAN_00004269-          Email from C. Wright to I Kleiman re H
          KLEIMAN_00004271           Communicaiton, dated August 28,
                                     2015
259       DEFAUS_00660269-           Email from S. Matthews to Baker      A; R
          DEFAUS_00660395            McKenzie re DeMorgan Business
                                     Service and Management Agreements
                                     for DeMorgan Holdings, C01N,
                                     CHAOS, Cloudcroft, Coin-Exch, and
                                     DASO, dated September 9, 2015




                                                       34
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 35 of
                                                  101



Exhibit         Bates/Document                       Title                  Defendant’s   Ruling   Admitted
                                                                            Objections
260       DEFAUS_00660397-           Email from C. Wright to R. Watts and H; R
          DEFAUS_00660401            S. Matthews re Demorgan patent
                                     schedule, dated September 10, 2015
261       DEFAUS_00063233-           Email from R. Watts to S. Matthews re H; R; A
          DEFAUS_00063233            Can further details be provided, dated
                                     September 10, 2015
262       DEF_00723790-              Email from C. Wright to A. Pedersen, R
          DEF_00723791               S. Matthews, R. Watts re Last for
                                     Today…, dated September 24, 2015
263       DEFAUS_00556489-           Patents Roadmap spreadsheet          H; R
          DEFAUS_00556490
264       DEFAUS_00662545-           Email from S. Matthews to C. Ayre     H; R; A
          DEFAUS_00662555            and R. Macgregor re Proposal for
                                     Creditors of Hotwire, dated September
                                     29, 2015
265       DEFAUS_00662639-           Email from S. Matthews to R. Watts re H; A; P
          DEFAUS_00662639            RFI #5, dated September 29, 2015
266       DEF_00177798-              Email from R. Watts re To Do Craig,   H; A
          DEF_00177798               dated October 7, 2015
267       WITHDRAWN                  WITHDRAWN

268       DEF_00022680-              Email from R. Watts to S. Matthews re H; A
          DEF_00022680               Dave's Trust, dated October 8, 2015
269       DEF_01107190-              Email from C. Wright to R. Watts re H; R; UP
          DEF_01107202               Research and Development Claim,
                                     dated October 9, 2015
270       KLEIMAN_00398939-          Email from I. Kleiman to C. Wright re H; UP
          KLEIMAN_00398941           Dave's Trust, dated October 9, 2015



                                                       35
            Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 36 of
                                                 101



Exhibit         Bates/Document                      Title                Defendant’s    Ruling   Admitted
                                                                          Objections
271       DEFAUS_00667386-          Email from S. Matthews to R. Watts   H
          DEFAUS_00667388           and C. Wright re Dave's Trust, dated
                                    October 16, 2015
272       DEFAUS_00667408-          Email from S. Matthews to R. Watts     H
          DEFAUS_00667410           and C. Wright re Dave's Trust, dated
                                    October 16, 2015
273       DEFAUS_01799244-          Email from C. Wright to S. Matthews H; R; CHAR
          DEFAUS_01799248           re Lynn, dated October 19, 2015
                                    Attachments: DEFAUS_01799245,
                                    DEFAUS_01799246,
                                    DEFAUS_01799247
274       DEFAUS_00125708-          Email from C. Wright to A. Pedersen R; H
          DEFAUS_00125715           re Proposal White Paper, dated October
                                    20, 2015
275       DEFAUS_01876190-          Email from R. Watts to S. Matthews re H; A; P; UP
          DEFAUS_01876205           Baker and Mackenzie IP Questionsn,
                                    dated October 20, 2015
276       DEFAUS_00125725-          Email re Cloudcroft Ausindustry        H; A; R
          DEFAUS_00125819           response dated October 21, 2015

277       DEFAUS_01876379-          Email between S. Matthews and Baker H; R; P; A
          DEFAUS_01876379           & McKenzie re Cloudcroft Matter
                                    (Lynn Wright), dated October 21, 2015
          [Attachment]
          DEFAUS_01800121-
          DEFAUS_01800124
278       DEFAUS_00557934-          Email from R. Watts to C. Ayre et al. H; R
          DEFAUS_00557939           re Publication, dated October 27, 2015
279       DEFAUS_00668806-          Email from R. Thomas to A. Pedersen H
          DEFAUS_00668872           et al., re Ausindustry Response



                                                      36
            Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 37 of
                                                 101



Exhibit         Bates/Document                      Title                   Defendant’s    Ruling   Admitted
                                                                            Objections
                                    Submission: Coin-Exch, dated October
                                    29, 2015

280       DEFAUS_00668949-          Email from Ut Ng to C. Wright, C.       H; R; UP;
          DEFAUS_00668950           Ayre and S. Matthews re Bitcoin         CHAR
                                    CEO…, dated October 30, 2015
281       DEFAUS_01878058-          Email from R. Watts to R. Thomas et     H; R; P; CML
          DEFAUS_01878059           al, re Demorgan - Tulip Trust Deed,
                                    dated November 4, 2015
282       DEFAUS_01878155-          Email from C. Wright to BLW et al, re   H; P
          DEFAUS_01878157           Demorgan - Tulip Trust Deed, dated
                                    November 5, 2015
283       DEFAUS_01878644-          Email from R. Watts to R. Thomas, J.    H; P; A; ILO
          DEFAUS_01878644           Balazs, re Trust Deed, dated November
                                    10, 2015
284       DEFAUS_00558843-          Patent Master Registry                  H; A; R; UP
          DEFAUS_00558844
285       WITHDRAWN                 WITHDRAWN

286       DEFAUS_01879703-          Email between S. Matthews and Baker H; P; R; A
          DEFAUS_01879703           & McKenzie re Coin-Exch Shares,
                                    dated November 16, 2015
          [Attachment]
          DEFAUS_01805854-
          DEFAUS_01805854
287       DEFAUS_01879705-          Email from Stefan to Baker Mckenzie H; P; R; A;
          DEFAUS_01879707           re Responses to IP report, dated    UP
                                    November 16, 2015




                                                       37
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 38 of
                                                  101



Exhibit         Bates/Document                        Title                  Defendant’s   Ruling   Admitted
                                                                              Objections
288       DEFAUS_00558953-           Email from S. Matthews to R. Watts      H; R
          DEFAUS_00558953            and C. Wright re Ira, dated Noveember
                                     20, 2015
289       DEFAUS_00671838-           Email from S. Matthews re The List, H; A
          DEFAUS_00671839            dated Noember 20, 2015
290       DEFAUS_00558940-           Email from C. Wright to R.            H; R
          DEFAUS_00558942            MacGregor, C. Wright, C. Ayre and R.
                                     Watts re Reporter re: satoshi, dated
                                     November 21, 2015
291       WITHDRAWN                  WITHDRAWN

292       WITHDRAWN                  WITHDRAWN

293       DEFAUS_00672506-           Email from S. Matthews to C. Ayre, C. H; R
          DEFAUS_00672506            Wright, R. Macgregor, R. Gillespie re
                                     Bakers, dated November 26, 2015
294       WITHDRAWN                  WITHDRAWN

295       DEFHC_01059366-            Minutes of Wright International re      H; R
          DEFHC_01059367             Trust Structure
296       DEF_01611949-              DeMorgan Group Intellectual Property    H; R; A; P;
          DEF_01612168               Ownership Analysis Draft, dated         UP
                                     November 27, 2015
297       DEF_01900721-              Email from R. Watts to BLW re           H; P; A; UP
          DEF_01900776               Nathan Firth, dated November 27,
                                     2015
298       DEF_01589197-              Email from R. Thomas to C. Wright et    H; R; CHAR;
          DEF_01589385               al re Following up on GST objections,   UP; A
                                     dated November 30, 2015


                                                        38
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 39 of
                                                  101



Exhibit          Bates/Document                      Title                  Defendant’s   Ruling   Admitted
                                                                             Objections
299       DEF_00022610-              Email from C. Wright to R.             H
          DEF_00022611               MacGregor, S. Matthews and R. Watts
                                     re Wired, dated December 2, 2015
300       DEFAUS_01074163-            Email with an Excel spreadsheet (BTC H; A
          DEFAUS_01074164            Details.xlsx)
301       DEF_00022643-              Email from C. Ayre to C. Wright, S.    H; R
          DEF_00022643               Matthews, R. Watts re any news?,
                                     dated December 5, 2015
302       DEF_00022600-              Email from R. Watts to C. Wright re    H
          DEF_00022600               Coin-Exch Reports, dated December 6,
                                     2015
303       DEF_01113335-              Email from S. Matthews to R. Watts     H; P
          DEF_01113335               and C. Wright re Coin-Exch
                                     Shareholders Agreement, dated
                                     December 7, 2015
304       DEF_00022658-              Email from C. Wright to R. Watts, R.   H; SPEC
          DEF_00022659               Macgregor, and S. Matthews re
                                     URGENT FROM GIZMODO…, dated
                                     December 8, 2015
305       DEF_00022689-              Email from C. Wright to R.             H
          DEF_00022689               MacGregor, S. Matthews and R. Watts
                                     re Difficult, dated December 8, 2015
306       2nd Amended Ex. 1 [DE      The Satoshi Affair                     H; R; UP
          83-1]                      Andresen Dep. Ex. 13
                                     Nguyen Dep. Ex. 5
                                     O'Hagan Dep. Ex. 2
                                     Craig Dep. I Ex. 3




                                                       39
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 40 of
                                                  101



Exhibit          Bates/Document                       Title                   Defendant’s   Ruling   Admitted
                                                                               Objections
307       Antonop. Dep.              A. Antonopoulos Twitter post, dated      H; R; UP
          (01.07.20) Ex. 27-         December 9, 2015
308       DEF_01586025-              Term Sheet re Allocation of IP           H; R; SPEC
          DEF_01586037               Proceeds
309       WITHDRAWN                  WITHDRAWN


310       DEF_01074208-              IP Assignment Deed for Ncrypt            R
          DEF_01074240               Holdings
311       DEF_00055237-              Email from C. Wright to Offshore         H; R
          DEF_00055242               House and Ramona Watts re Tulip
                                     Trading Limited, dated January 11,
                                     2016
312       DEF_00038392-              Email from A. Pedersen to C. Wright      H; R
          DEF_00038393               re PatentsProgress Report, dated
                                     January 16, 2016, with attachment
313       DEF_01895777-              Email from S. Matthews to C. Wright      H; R; P; UP
          DEF_01895784               and R. Watts re legal privilege, dated
                                     January 20, 2016
314       DEF_01895814-              Email from C. Ayre to S. Matthews,       H; R; UP; P
          DEF_01895817               R. Watts, R. Macgregor, C. Wright re
                                     Settlement discussion, dated February
                                     2, 2016
315       DEF_01586038-              Novation Agreement substituting          R
          DEF_01586069               nCrypt Holdings for DR Technologies
                                     Limited
316       GAVIN_00000796-            Email from J. Matonis to G. Andresen     H; R; A
          GAVIN_00000799             re London Arrangements - March 23-
                                     24 [Confidential], dated March 14,
                                     2016



                                                        40
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 41 of
                                                  101



Exhibit          Bates/Document                      Title                 Defendant’s      Ruling   Admitted
                                                                            Objections
317       DEF_00172478-              Email from S. Matthews to C. Wright, H; R; A; UP;
          DEF_00172478               R. Watts re CSU, dated March 15,      CHAR
                                     2016
318       DEF_00172509-              Email with attachments                H; R
          DEF_00172556               Media Training Session 1, dated March
                                     18, 2016
                                     Media Training Session Two, dated
                                     March 22, 2016
319       GAVIN_00000023-            EITC Holding Limited Non-Disclosure H; R; A
          GAVIN_00000026             Agreement executed by G. Andresen,
                                     dated March 16, 2016 (signed April 1,
                                     2016)
320       DEF_00055977-              Reasons for Decision from ATO for     H; R; A; UP;
          DEF_00056032               Integyrz                              CHAR
321       Eggington Dep. Ex. 2       W. Eggington Consulting Record,          H
                                     dated April 27, 2020
322       WITHDRAWN                  WITHDRAWN
323       DEF_00023345-              Email from R. Watts to A. O'Hagan re     H; R; UP; A
          DEF_00023345               Finding the Context , dated March 25,
                                     2016
324       Eggington Dep. Ex. 8       Court Opinion in Ceglia v. Zuckerberg,   H; A; R
                                     dated March 26, 2013
325       DEF_00023352-              Email from R. Watts to A. O'Hagan re     H; R; A; UP
          DEF_00023353               Finding the Context , dated March 27,
                                     2016
326       DEF_00052139-              Email from C. Wright to S. Matthews      H; R
          DEF_00052140               re Coordination, dated March 30, 2016
327       DEF_00052143-              Email from C. Wright to S. Matthews H; R
          DEF_00052144               re Coordination, dated March 30, 2016



                                                        41
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 42 of
                                                  101



Exhibit         Bates/Document                       Title                 Defendant’s     Ruling   Admitted
                                                                            Objections
328       DEF_00052146-              Email from R. Watts to S. Matthews re H; R
          DEF_00052146               Leaks, dated March 30, 2016
329       DEF_00052148-              Email from C. Wright to S. Matthews H; R
          DEF_00052149               re Leaks, dated March 30, 2016
330       GAVIN_00001433-            Email from J. Matonis to G. Andresen H; R; A
          GAVIN_00001434             re London Arrangements, dated March
                                     30, 2016
331       WITHDRAWN                  WITHDRAWN

332       DEF_00046835-              Email from C. Wright to A. O'Hagan re H; R; UP
          DEF_00046865               Material, dated March 31, 2016
333       DEF_00052171-              Email from R. Macgregor to C. Wright H; R; UP
          DEF_00052173               re London, dated March 31, 2016
334       WITHDRAWN                  WITHDRAWN

335       DEF_01113708-              Email from R. Watts to A. O'Hagan re   A; H; UP; R;
          DEF_01113743               correspondence with Dave K, dated      CHAR
                                     March 31, 2016
336       WITHDRAWN                  WITHDRAWN
337       DEF_01605108-              Demorgan Meeting Minutes March         A; H; P; R
          DEF_01605123               2016
                                     IP/agreements between DeMOrgan and
                                     nCrypt
338       WITHDRAWN                  WITHDRAWN
339       KLEIMAN_00003251-          Email from I. Keiman to P. Paige re    H
          KLEIMAN_00003252           files, dated March 31, 2016
340       DEF_00172557-              Email from R. MacGregor to S.          H; R
          DEF_00172558               Matthews, C. Wright and R. Watts re
                                     FT story, dated April 1, 2016


                                                       42
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 43 of
                                                  101



Exhibit         Bates/Document                        Title                    Defendant’s   Ruling   Admitted
                                                                               Objections
341       WITHDRAWN                  WITHDRAWN
342       GAVIN_00001286-            Email from G. Andresen to C. Wright H; R
          GAVIN_00001286             re Introduction, dated April 2, 2016
343       GAVIN_00001467-            Email from S. Matthews to G.              H; R; A
          GAVIN_00001467             Andresen re Introduction, dated April
                                     2, 2016
344       GAVIN_00000307-            Email from C. Wright to G. Andresen R
          GAVIN_00000309             re The state of affairs in a more defined
                                     manner, dated April 3, 2016
345       GAVIN_00001120-            Email from C. Wright to G. Andresen H; R
          GAVIN_00001120             re Introduction, dated April 3, 2016
346       GAVIN_00001260-            Email from C. Wright to G. Andresen       R
          GAVIN_00001269             re selfish miner fallacy explanation ss
                                     v3, dated April 3, 2016
347       DEF_01895818-              Email from S. Matthews to J.              H; A; P
          DEF_01895818               Longfellow and R. Watts re IP
                                     Transaction and Patent filiing, dated
                                     April 4, 2016
348       GAVIN_00001720-            Email from C. Wright to G. Andresen       H; R
          GAVIN_00001721             re Some reading for the plane, dated
                                     April 6, 2016
349       GAVIN_00001077-            Email from C. Wright to G. Andresen       H; R;
          GAVIN_00001081             re Some reading for the plane, dated
                                     April 6, 2016
350       DEF_01884997-              Implementation Deed Between               H; R; A
          DEF_01885020               DeMorgan, Calay Holdings, Craig
                                     Wright
351       GAVIN_00001762-            Email from G. Andresen to R.              H; R
          GAVIN_00001762             MacGregor, S. Matthews and C.



                                                         43
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 44 of
                                                  101



Exhibit         Bates/Document                       Title                  Defendant’s   Ruling   Admitted
                                                                            Objections
                                     Wright re Craig Wright, dated April
                                     12, 2016
352       DEF_00023302-              Email from C. Wright to R. Macgregor H; R
          DEF_00023305               re Trustee Letter, dated April 17, 2016
353       DEF_00052350-              Email from R. MacGregor to S.          H; R
          DEF_00052351               Matthews, C. Wright and R. Watts re
                                     Details, dated April 18, 2016
354       DEF_00722110-              Email from R. MacGregor to R. Watts,   R; H
          DEF_00722111               J. Longfellow (C. Wright) re BBC,
                                     dated April 19, 2016
355       GAVIN_00000015-            Email from G. Andresen to S.           H; R; A
          GAVIN_00000015             Matthews re Media, dated April 20,
                                     2016
356       GAVIN_00000033-            Email from G. Andresen to S.           H; R; A
          GAVIN_00000033             Matthews re Media, dated April 20,
                                     2016
357       WITHDRAWN                  WITHDRAWN

358       WITHDRAWN                  WITHDRAWN
359       DEF_00172752-              Dr. Craig Wright - Media Training     H; R; A
          DEF_00172802               Supplied by MILK Publicity & The
                                     Outside Organisation, dated April 26,
                                     2016
360       DEF_01587803-              Media Training Packet for Craig       H; R; A
          DEF_01587845               Wright
361       GAVIN_00001007-            Email from C. Wright to G. Andresen R
          GAVIN_00001007             and J. Matonis re And soon to Paris,
                                     dated April 27, 2016




                                                        44
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 45 of
                                                  101



Exhibit           Bates/Document                     Title                    Defendant’s   Ruling   Admitted
                                                                               Objections
362       GAVIN_00001521-            Email from S. Matthews to G.             H; R; A
          GAVIN_00001521             Andresen re Introduction, dated April
                                     27, 2016
363       GAVIN_00001179-            Email from C. Wright to A. Andresen,     R; H
          GAVIN_00001179             J. Matonis, S. Matthews and A.
                                     Pedersen re Debug logs, dated April
                                     29, 2016
364       GAVIN_00000810-            Email from G. Andresen to A.             H; R; A
          GAVIN_00000811             O'Hagan re via Stefan Matthews, dated
                                     April 29, 2016
365       DEF_00052372-              Email from N. Caley to R. Watts re       R; H
          DEF_00052377               UPDATED TIMELINE - MONDAY
                                     02 MAY 2016, dated April 30, 2016
366       GAVIN_00000005-            Email from S. Matthews to G.             H; R; A
          GAVIN_00000005             Andresen re Hi Gavin, dated May 2,
                                     2016
367       GAVIN_00000047-            Email from S. Matthews to G.             H; R
          GAVIN_00000048             Andresen re Additional proof, dated
                                     May 2, 2016
368       GAVIN_00000161-            Email from C. Wright to S. Matthews      R; H
          GAVIN_00000161             re Additional proof, dated May 2, 2016
369       GAVIN_00000371-            Email from C. Wright to G. Andresen R; H
          GAVIN_00000371             re What's with the funky proof?, dated
                                     May 2, 2016
370       Andresen Dep. Ex. 69       Document from G. Andresen titled       H; R; A
                                     "Satoshi", dated May 2, 2016
371       Antonop. Dep.              Sam Biddle and A. Cush, "This          H; A
          (01.07.20) Ex. 26          Australian Says He and His Dead
                                     Friend Invented Bitcoin, Gizmodo,"
                                     dated May 2, 2016



                                                        45
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 46 of
                                                  101



Exhibit           Bates/Document                      Title                    Defendant’s   Ruling   Admitted
                                                                                Objections
372       Antonop. Dep.              A. Antonopoulos Twitter post, dated       H; R
          (01.07.20) Ex. 29-         May 2, 2016 "My faith in bitcoin is
                                     unchanged from yesterday"
373       DEF_00052436-              Email from C. Wright to R. McGregor,      H; R; UP
          DEF_00052436               S. Matthews, and R. Watts re PGP
                                     Key, dated May 3, 2016
374       DEF_00052460-              Email from R. Macgregor to S.             H; R; UP
          DEF_00052460               Matthews, C. Wright and R. Watts re
                                     this morning, dated May 3, 2016
375       DEF_00172916-              Email from R. Macgregor to S.             H; R; UP
          DEF_00172916               Matthews, C. Wright and R. Watts re
                                     this morning, dated May 3, 2016
376       GAVIN_00000004-            Email from G. Andresen to S.              H; R; A
          GAVIN_00000004             Matthews re moving bitcoin, dated
                                     May 3, 2016
377       GAVIN_00000018-            Email from S. Matthews to G.              H; R
          GAVIN_00000018             Andresen and C. Wright re Additional
                                     proof, dated May 3, 2016
378       GAVIN_00000357-            Email from U. Nguyen to G. Andresen       H; A
          GAVIN_00000358             re I am Uyen - trustee of SN trust,
                                     dated May 3, 2016
379       GAVIN_00000893-            Email from M. Nobuyuki to G.              H; A
          GAVIN_00000895             Andresen to J. San, I. G., M. Hardy, J.
                                     VaughnPerling and G. Andresen re I
                                     am Uyen - trust of SN trust, dated May
                                     3, 2016
380       GAVIN_00001708-            Email from C. Wright to G. Andresen       H; R
          GAVIN_00001708             re What's with the funky proof?, dated
                                     May 3, 2016




                                                        46
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 47 of
                                                  101



Exhibit          Bates/Document                       Title                    Defendant’s   Ruling   Admitted
                                                                                Objections
381       DEF_00046731-              Email from R. Macgregor to S.             H
          DEF_00046731               Matthews, C. Wright and R. Watts re
                                     Hal, dated May 4, 2016
382       DEF_00181691-              Email from R. Watts re Rob, dated     H; A; R; UP
          DEF_00181691               May 4, 2016
383       GAVIN_00000622-            Email from M. Nobuyuki to G.          H; A
          GAVIN_00000623             Andresen re I am Uyen - trust of SN
                                     trust, dated May 4, 2016
384       GAVIN_00000683-            Email from R. MacGregor to J.         H; R; A
          GAVIN_00000684             Matonis and G. Andresen re Draft
                                     Blog, dated May 4, 2016
385       GAVIN_00000769-            Email from R. MacGregor to G.         H; R; UP; A
          GAVIN_00000770             Andresen re Draft Blog, dated May 4,
                                     2016
386       GAVIN_00001206-            Email from R. Macgregor to J. Matonis H; R; A; UP
          GAVIN_00001207             re Draft Blog, dated May 4, 2016
387       GAVIN_00001334-            Email from A. Andresen to M.              H; A
          GAVIN_00001335             Nobuyuki re I am Uyen - trustee of SN
                                     trust, dated May 4, 2016
388       GAVIN_00001075-            Email from G. Andresen to C. Wright       H; R
          GAVIN_00001075             re Please, take time for yourself, and
                                     let others help take care of you, dated
                                     May 5, 2016
389       GAVIN_00000016-            Email from S. Matthews to G.              H; R; A
          GAVIN_00000016             Andresen re just in case, dated May 5,
                                     2016
390       Antonop. Dep.              A. Antonopoulos Twitter post, dated       H; R
          (01.07.20) Ex. 30          May 2, 2016 "Avoid schadenfreude.
                                     Con artists can fool even the smartest
                                     people. What happened to Gavin and
                                     Jon could happen to anyone."


                                                         47
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 48 of
                                                  101



Exhibit          Bates/Document                      Title                   Defendant’s   Ruling   Admitted
                                                                              Objections
391       NGUYEN000229-              Email from J. Nguyen to R.              H; R; A
          NGUYEN 000229              MacGregor re 3,2,1 … dated May 5,
                                     2016
392       GAVIN_00000041-            Email from C. Wright to G. Andresen R; UP
          GAVIN_00000042             re My apologies, dated May 7, 2016
393       GAVIN_00001821-            Email from I. Kleiman to G. Andresen H; R
          GAVIN_00001821             re I. Kleiman, dated May 8, 2016
394       Eggington Dep. Ex. 9       Defendants' Motion to Exclude Expert H; R
                                     Testimony of G. McMenamin in
                                     Dutcher v. Bold Films LP, dated April
                                     6, 2018
395       GAVIN_00001759-            Email from I. Kleiman to G. Andresen H; CHAR;
          GAVIN_00001760             re Proof, dated May 11, 2016          ILO
396       Eggington Dep. Ex. 3       Expert Engagement Letter from Z.        H
                                     Kass to W. Eggington, dated April 13,
                                     2020
397       DEF_00177749-              Email with Demorgan meeting             H; R; A
          DEF_00177753               minutes dated May 17, 2016
398       DEF_01074241-              C. Wright Power of Attorney             R
          DEF_01074243               appointing nCrypt Limited, dated
                                     August 22, 2016
399       Eggington Dep. Ex. 6       Expert Report of R. Leonard, dated      H
                                     April 10, 2020
400       NGUYEN001586-              Contracted Services Agreement Term H; R
          NGUYEN 001597              Sheet between J. Nguyen and EITC
                                     Holdings Ltd. Dated September 1,
                                     2016
401       GAVIN_00001512-            Email from C. Wright to G. Andresen R
          GAVIN_00001512             re Thank you, dated November 17,
                                     2016


                                                        48
            Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 49 of
                                                 101



Exhibit         Bates/Document                      Title                  Defendant’s   Ruling   Admitted
                                                                            Objections
402       NGUYEN000642-             Email from S. Matthews to J. Nguyen H; R; A
          NGUYEN 000642             re PR Firm Engagement Letter, dated
                                    December 27, 2016
403       NGUYEN001404-             Email from J. Nguyen to J. Diaferia re H; R
          NGUYEN 001405             nChain Holdings Limited, dated
                                    January 23, 2017
404       NGUYEN000004-             Email from A. Davis to J. Nguyen and H; R; A;
          NGUYEN000004              S. Matthews re confidential, dated     COM
                                    February 14, 2017
405       GAVIN_00000344-           Email from C. Wright to G. Andresen H; R; UP
          GAVIN_00000346            re Finalisation of Comprehensive Risk
                                    Review [DLM=Sensitive], dated May
                                    3, 2017
406       GAVIN_00000732-           Email from C. Wright to G. Andresen H; R
          GAVIN_00000732            re Trolls, dated May 3, 2017
407       GAVIN_00000869-           Email from G. Andresen to C. Wright     H; R
          GAVIN_00000870            re Finalisation of Comprehensive Risk
                                    Review [DLM=Sensitive], dated May
                                    3, 2017
408       GAVIN_00001274-           Email from C. Wright to G. Andresen     H; R
          GAVIN_00001275            re Trolls, dated May 3, 2017
409       GAVIN_00001439-           Email from G. Andresen to C. Wright     H; R
          GAVIN_00001439            re Finalisation of Comprehensive Risk
                                    Review [DLM=Sensitive], dated May
                                    3, 2017
410       GAVIN_00001482-           Email from C. Wright to G. Andresen     H; R
          GAVIN_00001482            tr Finalisation of Comprehensive Risk
                                    Review, dated May 3, 2020
411       GAVIN_00001974-           Email from C. Wright to G. Andresen     R; UP
          GAVIN_00001974            re A year ago, dated May 3, 2017



                                                       49
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 50 of
                                                  101



Exhibit           Bates/Document                     Title                 Defendant’s   Ruling   Admitted
                                                                            Objections
412       KLEIMAN_00004288-          Email from C. Wright to I. Kleiman re A; H
          KLEIMAN_00004288           scronty, dated May 10, 2017
413       Antonop. Dep.              A. Antonopoulos Twitter posts re      H; R
          (01.07.20) Ex. 24          disagreeing with C. Wright about
                                     Segwit, dated June 19, 2017
414       Antonop. Dep.              A. Antonopoulos Twitter posts re      H; R
          (01.07.20) Ex. 25          disagreeing with C. Wright about
                                     Segwit, dated June 19, 2017
415       DEFHC_01518378-            Trust Agreement for the Tulip Trust, H; R; CHAR
          DEFHC_01518407             dated July 6, 2017
416       WITHDRAWN                  WITHDRAWN

417       KLEIMAN_00385767-          Email from I. Kleiman to C. Wright re A; H; UP
          KLEIMAN_00385768           scronty, dated September 29, 2017
418       Antonop. Dep.              Twitter exchange between R. Ver and H; R
          (01.07.20) Ex. 8           A. Antonopoulos, dated December 5,
                                     2017
419       Antonop. Dep.              A. Antonopoulos on Patreon, "In      H; R
          (01.07.20) Ex. 15          defense of optimism," dated December
                                     6, 2017
420       KLEIMAN_00002287-          Email from A. Ojea to I. Kleiman re  H; R; UP
          KLEIMAN_00002295           David, dated December 7, 2017
421       Antonop. Dep.              Lucind Shen, "Why People Are Giving H; R
          (01.07.20) Ex. 10-         This Man Almost $2 Million in Free
                                     Bitcoin," Fortune, dated December 8,
                                     2017
422       WITHDRAWN                  WITHDRAWN




                                                       50
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 51 of
                                                  101



Exhibit           Bates/Document                     Title                  Defendant’s   Ruling   Admitted
                                                                             Objections
423       Antonop. Dep.              Twitter Response to Karma Machine      H; R
          (01.07.20) Ex. 23          from A. Antonopoulos, dated February
                                     17, 2018
424       2nd Amended Ex. 21         Letter from S. Harris from the U.S.   H; IC; COM
          [DE 83-21]                 Department of Homeland Security to
                                     K. Roche re 2018-STFO-00106, dated
                                     March 22, 2018
425       2nd Amended Ex. 29         Declaration of C. Wright, dated April R; CHAR
          [DE 83-29]                 15, 2018
426       Antonop. Dep.              A. Antonopoulos Twitter response to    H; R; UP
          (01.07.20) Ex. 31-         HodlrDotRocks, dated May 24, 2018
427       Craig Dep. I Ex. 9         Declaration of C. Wright, dated June   R; CHAR
                                     14, 2018
428       2nd Amended Ex. 33         Civil Theft Demand Letter from V.     H; R
          [DE 83-33]                 Freedman to Andres Rivero, Esq.
429       GAVIN_00000295-            Email from C. Wright to R. Ver and G. R
          GAVIN_00000295             Andresen re :), dated July 17, 2018
430       Antonop. Dep.              A. Antonopoulos Twitter posts re       H; R; UP
          (01.07.20) Ex. 32          Faketoshi, dated November 16, 2018
431       Antonop. Dep.              Mark Emem, "Shots Fired: Craig          H; R
          (01.07.20) Ex. 33          Wright Calls Bitcoin Evangelist
                                     Andreas Antonopoulos 'Sh*tcoin
                                     Expert," CNN, dated January 4, 2019
432       Craig Dep. IV Ex. Tag 2    Twitter post from C. Wright to          H
                                     VeryVeriViral re "Neither of us mined
                                     after 2011 (only just starting again in
                                     2018)," dated January 15, 2019




                                                        51
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 52 of
                                                  101



Exhibit           Bates/Document                      Title                   Defendant’s    Ruling   Admitted
                                                                               Objections
433       Pl. Opp. MSJ Ex. 34        Craig, Wright, The story of Bitcoin,     R
          [DE 534-34]                continued, dated February 9, 2019
434       Craig Dep. III Ex. Z10     The Bad Crypto Podcast - "Is Craig       H; R; A
                                     Wright the Real Satoshi?" dated
                                     February 20, 2019
435       WITHDRAWN                  WITHDRAWN

436       Warren Dep. Ex. P1         Stipulated Confidentiality Order signed R
                                     by J. Warren, dated July 24, 2019
437       Nguyen Dep. Ex. 9          Finance Magnates Interview - Jimmy       H; A; UP; R;
                                     Nguyen: Bitcoin SV is Bigger than        MIL
                                     Craig Wright. The former CEO of
                                     nChain discusses the BSV ecosystem
                                     and the effects of the media attention
                                     on Craig Wright, dated September 4,
                                     2019
438       Pl. Opp. MSJ Ex. 15        Declaration of Brendan J. Sullivan in    H; UP
          [DE 534-15]                Support of Non-Party Brendan J.
                                     Sullivan's Motion to Quash, dated
                                     September 9, 2019
439        Craig S. Wright,          Craig S. Wright, Satoshi's Vision: The   H; R;
          Satoshi's Vision: The      Art of Bitcoin (2019)
          Art of Bitcoin (2019)
440       Antonop. Dep.              David Stancel, "Coin Perspective #1: H; BOL
          (01.07.20) Ex. 20          Andeas Antonopolous, Bitcoin is more
                                     resilent than I thought!" Medium, dated
                                     October 8, 2019
441       O'Hagan Dep. Ex. 1         Witness Statement of A. O'Hagan,        H; R; BOL
                                     dated November 22, 2019



                                                         52
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 53 of
                                                  101



Exhibit           Bates/Document                      Title                Defendant’s   Ruling   Admitted
                                                                           Objections
442       Antonop. Dep.              A. Antonopoulos Amended Subpoena R
          (01.07.20) Ex. 1           to Testify and Request for Documents,
                                     dated January 2, 2020
443       Klin Dep. Ex. 1            Engagement Letter from Z. Kass ro A. H; R
                                     Klin, dated April 6, 2020
444       Klin Dep. Ex. 2            Invoice from A. Klin to Z. Kass and M. H; R
                                     Hall, dated April 13, 2020
445       Antonop. Dep.              A. Antonopoulos Twitter posts, dated   H; R
          (01.07.20) Ex. 21          January 4, 2020
446       [DE 376]                   Craig Wright's Notice of Compliance R
                                     with Court's January 10, 2020 Order,
                                     dated January 14, 2020
447       Pl. Opp. MSJ Ex. 29        Craig Wright, Looking the other way, R
          [DE 534-29]                dated January 17, 2020
448       Edman Dep. Ex. 4           Edman's Relativity Documents dated     H; A; R
                                     February 3, 2020 (See Edman Tr.
                                     40:15)
449       WITHDRAWN                  WITHDRAWN

450       Edman Dep. Ex. 6           Hash Values (See Edman Tr. 47:11)      H; UP

451       Leonard Dep. Ex. G         Email from A. Brenner to N. Dagley re H; R
                                     Deposition of Robert Leonard, dated
                                     April 24, 2020
452       DEFHC_00000204-            Bitmessages from D. Kleiman to C.       H; R; A;
          DEFHC_00000205             Wright re The trust process, dated 2012 CHAR




                                                        53
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 54 of
                                                  101



Exhibit           Bates/Document                     Title                 Defendant’s   Ruling   Admitted
                                                                            Objections
453       Antonop. Dep.              I am Andreas M. Antonopoulos,         H; BOL
          (01.07.20) Ex. 13          Author of "Mastering Bitcoin"- Ask
                                     Me Almost Anything! (IamAMA
                                     AMB AMAA!)
454       WITHDRAWN                  WITHDRAWN
455       DEFAUS_00112093-           Discretionary Trust Deed Template   H; R; A
          DEFAUS_00112106            between C. Wright, W&K and
                                     Panopticrypt Pty Ltd, dated 2019
456       Nguyen Dep. Ex. 12         J. Nguyen Interview with SFOX - The H; R; A
                                     Future of Bitcoin, January 2019
457       NGUYEN000875-              Baker & McKenzie - EITC Holding          A; H; R;
          NGUYEN 000891              Ltd. - IP valuation analysis, dated      SPEC; UP
                                     October 2016
458       Craig Dep. IV Ex. Tag 1    C. Wright Facebook Timeline - "I         H; R; A
                                     stopped mining in 2012. I leave that for
                                     others now," dated December 2014
459       DEF_01667372-              Emails between C. Wright and M.          H; R; A;
          DEF_01667372               Ferrier, dated February 2013             CHAR
460       Nguyen Dep. Ex. 13         J. Nguyen Interview with Bitstocks    H; R
                                     Media, March 2019
461       Nguyen Dep. Ex. 3-         J. Nguyen Interview with Coin Geek in H; R; A
                                     April 2019
462       WITHDRAWN                  WITHDRAWN
463       KIMON_00000024-            Chat conversations between K.         H; R; UP
          KIMON_00000200             Andreou and D. Kleiman, dated July 2,
                                     2009 through April 18, 2013
464       DEF_01597542-              Statement of a Witness in Police v.   H; R; A;
          DEF_01597655               Ferris, dated July 2014               CHAR; UP


                                                        54
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 55 of
                                                  101



Exhibit         Bates/Document                        Title                   Defendant’s   Ruling   Admitted
                                                                              Objections
465       WITHDRAWN                  WITHDRAWN

466       DEF_00013147-              Bitmessage with handwritten note   H; R; A;
          DEF_00013147               "This shows Dave Kleiman is mapped CHAR
                                     to the above bitmessage address"
467       WITHDRAWN                  WITHDRAWN

468       DEF_00022424-              Spreadsheet titled "Shareholders"       H; A; BER
          DEF_00022425
469       DEF_00073807-              Baker & McKenzie - IP Assignment         R
          DEF_00073943               Deed for Ncrypt Holdings Ltd,
                                     DeMorgan Limited, DeMorgan
                                     Holdings Pty. Ltd., Misfit Games Pty.
                                     Ltd., Panopticrypt Pty Ltd, Coin-Exch
                                     Pty. Ltd., Integyrz Pty Ltd, Pholus Pty.
                                     Ltd., Cloudcroft Pty. Ltd., Chaos and
                                     Nonlinear Forecasting in Economics
                                     and Finance Pty. Ltd., CO1N Pty Ltd,
                                     Denariuz Pty. Ltd., Interconnected
                                     Research Pty. Ltd., Zuhl Pty. Ltd. and
                                     Daso Pty. Ltd.
470       WITHDRAWN                  WITHDRAWN

471       DEF_01590090-              Letter from D. Rockwell to A. Sommer H; R; A
          DEF_01590101               re integrating the SGI and SuperMicro
                                     systems into a single interconnect
                                     requested by C. Wright
472       WITHDRAWN                  WITHDRAWN




                                                         55
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 56 of
                                                  101



Exhibit           Bates/Document                     Title                 Defendant’s   Ruling   Admitted
                                                                            Objections
473       DEF_01885032-              Baker & McKenzie - IP Assignment      H; A
          DEF_01885045               Deed for W&K and Ncrypt Holdings
                                     Ltd (not signed by WK)
474       WITHDRAWN                  WITHDRAWN

475       Nicholson Dep. I Ex. 2     Invoice from W. Nicholson to A.       H; R
                                     Rivero, dated January 6, 2020
476       Nicholson Dep. I Ex. 3     Engagement Letter from W. Nicholson H; R
                                     to A. Rivero, dated January 9, 2020
477       GAVIN_00002007-            Reddit private message exchange     H; R; A
          GAVIN_00002012             between user etmetm and G. Andresen
478       KIMON_00009284-            D. Kleiman CV                         H
          KIMON_00009286
479       Antonop. Dep.              A. Antonopoulos Bitcoin address       H; R
          (01.07.20) Ex. 11
480       Antonop. Dep.              Chart that shows outflows from Bitcoin H; R
          (01.07.20) Ex. 12          address
481       Antonop. Dep.              A. Antonopoulos' Donation Page on     H; R
          (01.07.20) Ex. 16          website
482       Nicholson Dep. II Ex. 1    Invoice from W. Nicholson to A.       H; R
                                     Rivero, dated February 10, 2020
483       WITHDRAWN                  WITHDRAWN

484       Antonop. Dep.              Extended Bio - Andreas M.             H; BOL
          (01.07.20) Ex. 18          Antonopolous




                                                        56
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 57 of
                                                  101



Exhibit           Bates/Document                      Title                  Defendant’s    Ruling   Admitted
                                                                              Objections
485       Antonop. Dep.              A. Antonopoulos Twitter posts           H; R; BOL
          (01.07.20) Ex. 22
486       Antonop. Dep.              A. Antonopolous CV                      H; BOL
          (01.07.20) Ex. 7
487       Antonop. Dep.              Conversation on Reddit                  H; R; BOL
          (01.07.20) Ex. 9
488       WITHDRAWN                  WITHDRAWN'

489       Edman Dep. Ex. 9           Zip file (See Edman Tr. 102:2)          H; R; A; IC;
                                                                             UP
490       Leonard Dep. Ex. F         International Association of Forensic   H
                                     Linguists Code of Practice
491       WITHDRAWN                  WITHDRAWN

492       Nguyen Dep. Ex. 14         J. Nguyen Interview with V. Everts      H; R
493       Nguyen Dep. Ex. 15-        J. Nguyen Interview with nChain         H; R

494       Nguyen Dep. Ex. 18         J. Nguyen Interview with Trader Cobb H; R; A

495       Nguyen Dep. Ex. 1          J. Nguyen LinkedIn Profile Page         H; R; A

496       Radvanovsky Dep. Ex. 1     R. Radvanovsky LinkedIn Profile Page H; R

497       Radvanovsky Dep. Ex. 2     Document titled "Robert                 H; R
                                     Radvanovsky's Books"



                                                        57
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 58 of
                                                  101



Exhibit          Bates/Document                       Title                 Defendant’s   Ruling   Admitted
                                                                             Objections
498       Wilson Dep. Ex. 19         J. Wilson's Business Card              H; R; A
499       Wilson Dep. Ex. 21         J. Wilson LinkedIn Profile Page        H; R; A
500       WITHDRAWN                  WITHDRAWN

501       DEF_00023312-              Screenshot                             H; A; UP;
          DEF_00023314                                                      CML
502       DEF_01588228-              WFT Holding Map                        A; H; UP
          DEF_01588242
503       WITHDRAWN                  WITHDRAWN

504       DEF_01904755-              Word Document “Strasan/CO1N”           H; R; UP;
          DEF_01904756                                                      BER
505       DEFAUS_00556318-           Spreadsheet                            H; A; BER
          DEFAUS_00556319
506       WITHDRAWN                  WITHDRAWN

507       WITHDRAWN                  WITHDRAWN
508       WITHDRAWN                  WITHDRAWN
509       Pl. MSJ Ex. 6 [DE 511-     Transcript of Australian proceedings   H; A; R
          11]
510       Nguyen Dep. Ex. 2          J. Nguyen Interview with Cryotofinder H; R

511       Nguyen Dep. Ex. 20         C. Wright and J. Nguyen Presentation H; R
                                     Speech at Oxford Union
512       Nguyen Dep. Ex. 21         C. Wright and J. Nguyen Interview on H; R
                                     Coin Geek Channel


                                                        58
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 59 of
                                                   101



 Exhibit          Bates/Document                     Title                Defendant’s     Ruling   Admitted
                                                                          Objections
513        WITHDRAWN                  WITHDRAWN

514        DEF_00013189-              Email from D. Kleiman to C. Wright re H; A; CHAR;
           DEF_00013189               Requested attached, dated June 24,    CML
                                      2011
                                      1st Edman Report Ex. 3-
514.1                                 DEF_00013189.PDF.obj_5_0.CLEAN.
                                      pdf---
                                      1st Edman Report Ex. 4-
514.2                                 DEF_00013189.PDF.obj_25_decoded_
                                      stream.pdf---
515        Show Cause Ex. 3 [DE       DEF_00013189 Metadata                 H; A; CHAR;
           237-3]                                                           COM; R1006;
                                                                            UP
516        Show Cause Ex. 4 [DE       DEF_00013189 Metadata                 H; A; CHAR;
           237-4]                                                           COM; R1006;
                                                                            UP
517        Show Cause Ex. 5 [DE       Calendar                              H; A; R;
           237-5]                                                           DEM
518        DEF_00013459-              Email from D. Kleiman to C. Wright re H; A; CHAR
           DEF_00013459               Requested attached, dated October 17,
                                      2014
                                      1st Edman Report Ex. 5-
518.1                                 DEF_00013459.PDF.obj_2_0-
                                      1.CLEAN.pdf--
                                      1st Edman Report Ex. 6-
518.2                                 DEF_00013459.PDF.obj_2_0-
                                      2.CLEAN.pdf--
                                      1st Edman Report Ex. 7-
518.3                                 DEF_00013459.PDF.obj_9_10-1 .pdf--


                                                       59
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 60 of
                                                   101



 Exhibit          Bates/Document                     Title                Defendant’s    Ruling   Admitted
                                                                          Objections
                                      1st Edman Report Ex. 8-
518.4                                 DEF_00013459.PDF.obj_9_10-2.pdf--
                                      1st Edman Report Ex. 9-
518.5                                 DEF_00013459.PDF.obj_17_decoded_
                                      stream.pdf---
                                      1st Edman Report Ex. 10-
518.6                                 DEF_00013459.PDF.obj_53_decoded_
                                      stream.pdf---
                                      1st Edman Report Ex. 11- Microsoft -
518.7                                 How to determine Outlook version
                                      information.pdf--
                                      1st Edman Report Ex. 12- 14.1.18.30
518.8                                 _ GeoIP2 Precision Lookup Form _
                                      MaxMind.pdf---
                                      2nd Supp. Edman Report Ex.
518.9                                 074_HistoricalmailMXrecordsforpano
                                      pticrypt.com_SecurityTrails.com.pdf
519        Show Cause Ex. 7 [DE       DEF_00013459 Metadata                H; A; CHAR;
           237-7]                                                          COM; R1006;
                                                                           UP
520        Show Cause Ex. 8 [DE       DEF_00013459 Metadata                H; A; CHAR;
           237-8]                                                          COM; R1006;
                                                                           UP
521        Show Cause Ex. 10 [DE      DEF_00050985 Metadata (Tulip Trust H; A; CHAR;
           237-10]                    Deed)                                COM; R1006;
                                                                           UP
                                      1st Edman Report Ex. 18-
521.1
                                      DEF_00050985.PDF.obj_60.pdf---




                                                       60
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 61 of
                                                   101



 Exhibit         Bates/Document                         Title              Defendant’s   Ruling   Admitted
                                                                           Objections
                                      1st Edman Report Ex. 19-
521.2                                 DEF_00050985.PDF.obj_8.ttf.sig_1.pd
                                      f---
                                      1st Edman Report Ex. 20-
521.3                                 DEF_00050985.PDF.obj_16.ttf.sig_1.p
                                      df---
                                      1st Edman Report Ex. 21-
521.4                                 DEF_00050985.PDF.obj_27.ttf.sig_1.p
                                      df---
                                      1st Edman Report Ex. 22-
521.5                                 DEF_00050985.PDF.obj_35.ttf.sig_1.p
                                      df---
                                      1st Edman Report Ex. 23-
521.6                                 DEF_00050985.PDF.obj_49.ttf.sig_1.p
                                      df---
                                      1st Edman Report Ex. 24-
521.7
                                      DEF_00050985 Copyright info.pdf---
522        DEFAUS_00058790-           Email from C. Wright to D. Mayaka re H
           DEFAUS_00058793            Aged Shelf Company, dated October
                                      17, 2014
523        DEF_00046659-              Transfer Receipt                     H; A; CHAR
           DEF_00046670               Abacus Invoice
524        WITHDRAWN                  WITHDRAWN
525        DEFAUS_00058811-           Email from D. Mayaka to C. Wright re H
           DEFAUS_00058832            Tulip Trading, dated October 20, 2014
526        DEFHC_00000360-            Trust Documents                     H; A; R
           DEFHC_00000376
527        DEF_00069774-              Agreement between C. Wright and     H; A; R
           DEF_00069778               Equator, dated April 28, 2016


                                                          61
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 62 of
                                                  101



Exhibit          Bates/Document                      Title                   Defendant’s   Ruling   Admitted
                                                                              Objections
528       Show Cause Ex. 20 [DE      Search results for '0x4ff1cfebc941fe6d' H; R: A
          237-20]
529       DEFHC_00000195-            Blog Post re Liberty Payment (2)      H; A
          DEFHC_00000196
530       DEF_00050990-              Discretionary Trust Deed Template    H
          DEF_00050102               between C. Wright, Tulip Trading and
                                     Panopticrypt Pty Ltd, dated October
                                     24, 2012
531       DEF_00013755-              Wright International Investments     H; R; UP
          DEF_00013756               Meeting Minutes, dated December 19,
                                     2014
532       Show Cause Ex. 24 [DE      Edman CV                             H; BOL
          268-1]
533       Show Cause Ex. 25 [DE      GEOIP2 Precision Lookup Form          H; A; R
          268-2]
534       Show Cause Ex. 26 [DE      How to Determine Outlook Version      H; A; R
          268-3]                     Information
535       Show Cause Ex. 27 [DE      DEF_00013459 Metadata                 H; A; CHAR;
          268-4]                                                           COM; R1006;
                                                                           UP
536       Show Cause Ex. 28 [DE      DEF_00013459 Metadata                 H; A; CHAR;
          268-5]                                                           COM; R1006;
                                                                           UP
537       Show Cause Ex. 29 [DE      DEF_00013459 Metadata                 H; A; CHAR;
          268-6]                                                           COM; R1006;
                                                                           UP
538       DEFAUS_00079344-           Email from D. Kleiman to C. Wright re H; A; CML
          DEFAUS_00079346            Requested attached, dated June 24,
                                     2011



                                                        62
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 63 of
                                                   101



 Exhibit          Bates/Document                     Title                Defendant’s     Ruling   Admitted
                                                                          Objections
                                      1st Edman Report Ex. 13-
538.1                                 DEF_00079344.msg - header.pdf--
                                      1st Edman Report Ex. 14- Epoch
538.2                                 Converter - Unix Timestamp
                                      Converter.pdf--
539        Show Cause Ex. 31 [DE      DEF_00079344 Metadata                 H; A; CHAR;
           268-8]                                                           COM; R1006;
                                                                            UP
540        DEF_00013188-              Email from D. Kleiman to C. Wright re H; A
           DEF_00013188               Requested attached, dated April 2,
                                      2013
                                      1st Edman Report Ex. 15-
540.1                                 DEF_00013188.PDF.obj_2_0.CLEAN.
                                      pdf---
                                      1st Edman Report Ex. 16-
540.2                                 DEF_00013188.PDF - GPG
                                      Output.pdf--
                                      1st Edman Report Ex. 17- Tulip
540.3                                 Trust.pdf.asc - GPG Output.pdf--
541        Show Cause Ex. 33 [DE      DEF_00013188 Metadata               H; A; CHAR;
           268-10]                                                        COM; R1006;
                                                                          UP
542        Show Cause Ex. 34 [DE      DEF_00013188 Metadata               H; A; CHAR;
           268-11]                                                        COM; R1006;
                                                                          UP
543        Show Cause Ex. 35 [DE      DEF_00050985 Metadata               H; A; CHAR;
           268-12]                                                        COM; R1006;
                                                                          UP




                                                       63
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 64 of
                                                   101



 Exhibit          Bates/Document                     Title                  Defendant’s   Ruling   Admitted
                                                                             Objections
544        Show Cause Ex. 36 [DE      DEF_00050985 Metadata                 H; A; CHAR;
           268-13]                                                          COM; R1006;
                                                                            UP
545        Show Cause Ex. 37 [DE      DEF_00050985 Metadata                 H; A; CHAR;
           268-14]                                                          COM; R1006;
                                                                            UP
546        DEF_00027291-              Email from D. Kleiman to C. Wright re H; A
           DEF_00027292               Divorce, dated September 7, 2012
                                      1st Edman Report Ex. 25-
546.1                                 DEF_00027291.PDF.msg_1.txt - GPG
                                      Output.pdf--
                                      1st Edman Report Ex. 26-
546.2                                 DEF_00027291.PDF.msg_2.txt - GPG
                                      Output.pdf--
                                      1st Edman Report Ex. 27- GnuPG -
546.3                                 All News.pdf--
547        Show Cause Ex. 39 [DE      DEF_00027291 Metadata               H; A; CHAR;
           268-16]                                                        COM; R1006;
                                                                          UP
548        Show Cause Ex. 40 [DE      DEF_00027291 Metadata               H; A; CHAR;
           268-17]                                                        COM; R1006;
                                                                          UP
549        Show Cause Ex. 41 [DE      GnUPG.org                           H; A; R;
           268-18]                                                        CHAR
550        Show Cause Ex. 43 [DE      DEF_00028008 Metadata               H; A; CHAR;
           268-20]                                                        COM; R1006;
                                                                          UP
551        Show Cause Ex. 44 [DE      0b67f9…..                           H; A
           268-21]



                                                       64
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 65 of
                                                  101



Exhibit          Bates/Document                       Title                Defendant’s      Ruling   Admitted
                                                                            Objections
552       DEF_00000465-              Email from C. Wright to I. Kleiman re H; A
          DEF_00000490               Questions, dated April 24, 2014
553       Sanctions Ex. 1 [DE        Divorce Application                   H; R; A; UP
          512-1]
554       DEF_01586024-              CSW Filed List                          H; A; R
          DEF_01586024
555       Sanctions Ex. 15 [DE       JBruk Ltd Companies House Listing       H; R; A
          512-15]
556       Resp. to MJOP Ex. 2        Limited Liability Company Annual        H; R; A
          [DE 159-2]                 Report Help
557       Resp. to MJOP Ex. 3        Florida Division of Corporations - Title H; A; R
          [DE 159-3]                 Abbreviations
558       Resp. to MJOP Ex. 4        CCN.Com Article re Craig Wright         H; A; R; UP;
          [DE 159-4]                 Allegedly Submits Fake Email in         ILO; CHAR
                                     Lawsuit
559       Resp. to MJOP Ex. 5        Reddit Post re The Fraud Continues,     H; A; R; UP;
          [DE 159-5]                 dated April 17, 2019                    ILO; CHAR
560       Resp. to MJOP Ex. 6        Chepicap.com Article re Did Craig       H; A; R; UP;
          [DE 159-6]                 Wright just submit a faked email as     CHAR; ILO
                                     evidence for his lawsuit?
561       Resp. to MJOP Ex. 7        "Faketoshi Craig Wright Presents        H; A; R; UP;
          [DE 159-7]                 Provably Fake Documents in Kleiman      CHAR; ILO
                                     Case"
562       Resp. to MJOP Ex. 8        Dr. Funkenstein6 Tweet                  H; A; R; UP;
          [DE 159-8]                                                         CHAR; ILO
563       Resp. to MJOP Ex. 10       Email from C. Wright to C. Wright re H; A
          [DE 159-10]                Appointment Letter, dated April 16,
                                     2014


                                                        65
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 66 of
                                                  101



Exhibit          Bates/Document                      Title                  Defendant’s    Ruling   Admitted
                                                                             Objections
564       KLEIMAN_00004796-          Email from I. Kleiman to U. Ng re      H; R
          KLEIMAN_00004796           Dave K, dated February 16, 2014
565       SMJ Sur-Reply Ex. 1        C01N Penalty and Interest Position     H; R; A; UP;
          [DE 191-1]                 Paper, dated March 11, 2016            CHAR
566       WITHDRAWN                  WITHDRAWN
567       DEF_00030089-              Email from U. Ng to R. Watts re ATO H; R
          DEF_00030091               request, dated June 23, 2015
568       SMJ Sur-Reply Ex. 4        Bitcoin.com Article re Uyen Nguyen,    H; A
          [DE 191-4]                 dated April 6, 2019
569       DEF_00045270-              Coin-Exch Meeting Minutes              R; A
          DEF_00045270
570       DEFAUS_00105469-           Email from C. Wright to M. Halloran    H; R
          DEFAUS_00105475            dated June 27, 2013
                                     Private Ruling Application
571       WITHDRAWN                  WITHDRAWN

572       DEFAUS_00111382-           Email from J. Chesher to D. Mcmaster   H; R; CHAR;
          DEFAUS_00111385            re Our Meeting Monday                  CML
573       DEFAUS_00112504-           Email from J. Chesher to A. Sommer     H; R; CML;
          DEFAUS_00112598            re Audit Interview                     UP; CHAR
                                     GST Calculation Worksheet for Craig
                                     Wright R&D
574       WITHDRAWN                  WITHDRAWN

575       DEFAUS_00112964-           Email from C. Wright to P. Paige re    H
          DEFAUS_00112967            Difficult, dated February 17, 2014




                                                        66
            Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 67 of
                                                 101



Exhibit         Bates/Document                      Title                 Defendant’s    Ruling   Admitted
                                                                          Objections
576       WITHDRAWN                 WITHDRAWN

577       DEFAUS_00113709-          GST Audit Report                      H; R; A
          DEFAUS_00113710
578       DEFAUS_00115579-          Email from C. Wright to I. Kleiman re H; A
          DEFAUS_00115581           FW: 32 Wipe Fallacy
579       DEFAUS_00553245-          Email from C. Wright to U. Nguyen re H
          DEFAUS_00553249           Response
580       DEFAUS_00553266-          Email from C. Wright to U. Nguyen re H
          DEFAUS_00553269           Final
581       DEFAUS_01565341-          Email from A. Sommer re Coin-Exch     H; R; P; UP;
          DEFAUS_01565366           Interim Report                        MIL; CHAR
582       DEFAUS_01754192-          Letter to A. Miller dated May 9, 2014 H; A; UP;
          DEFAUS_01754211                                                 SPEC; MIL;
                                                                          CHAR
583       DEFAUS_01765303-          Email from R. Watts re Missing Pages H; R; CHAR
          DEFAUS_01765396           Response to ATO Letter
584       WITHDRAWN                 WITHDRAWN

585       DEFAUS_01769266-          Strasan Development Agreement         H; A; CML;
          DEFAUS_01769446           Email from C. Wright to R. Watts re   CHAR; UP;
                                    Hotwire                               R
586       WITHDRAWN                 WITHDRAWN

587       WITHDRAWN                 WITHDRAWN




                                                       67
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 68 of
                                                  101



Exhibit         Bates/Document                       Title                Defendant’s   Ruling   Admitted
                                                                           Objections
588       DEFHC_00001745-            Statement of Claims filed in New     H; R;
          DEFHC_00001750             South Wales Supreme Court            A;CHAR
589       WITHDRAWN                  WITHDRAWN

590       WITHDRAWN                  WITHDRAWN

591       DEF_00028003-              Email from C. Wright to C. Wright re H; R; A
          DEF_00028004               IFIP…, dated March 1, 2014
592       DEF_00031275-              Email from C. Wright to M. Italia re  H; R; A
          DEF_00031314               Email 1 re Notification of audit ABN
                                     48 164 068 348, dated October 6, 2013
                                     Hotwire Tax Invoice
                                     Hotwire GST Calculation Worksheet
                                     Letter to C. Wright re Private Ruling
593       WITHDRAWN                  WITHDRAWN

594       WITHDRAWN                  WITHDRAWN

595       WITHDRAWN                  WITHDRAWN

596       DEF_00040537-              Email from A. Pedersen to C. Wright H; R
          DEF_00040612               and R. Watts re: DeMorgan
                                     Information Pack, dated May 22, 2015
                                     Demorgan Information Pack
597       WITHDRAWN                  WITHDRAWN

598       DEF_00046093-              Screenshot of Wallet                 H
          DEF_00046097               Screenshot of XE.com


                                                        68
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 69 of
                                                  101



Exhibit         Bates/Document                        Title               Defendant’s     Ruling   Admitted
                                                                          Objections
                                     Screenshot of XE.com
599       WITHDRAWN                  WITHDRAWN

600       WITHDRAWN                  WITHDRAWN

601       WITHDRAWN                  WITHDRAWN

602       WITHDRAWN                  WITHDRAWN
603       DEF_00052366-              Email from C. Wright to V. Brooks    H; R
          DEF_00052371               dated April 29, 2016
604       DEF_00053896-              Audit Position Paper                 H; R; UP;
          DEF_00053948                                                    CHAR;
605       WITHDRAWN                  WITHDRAWN

606       DEF_00055247-              Search Warrant                       H; R; UP:
          DEF_00055266                                                    CHAR
607       DEF_00055764-              Reasons for Decision from ATO for    H; A; R;
          DEF_00055819               Zuhl, dated April 12, 2016           CHAR; UP
608       DEFAUS_00062743-           Email from U. Ng to A. Synnott re      H; A; R;
          DEFAUS_00062751            ATO request, dated August 14, 2015
609       DEF_00066421-              Notice of Objection re Denariuz, dated H; R; CHAR;
          DEF_00066430               October 29, 2014                       UP
610       WITHDRAWN                  WITHDRAWN




                                                        69
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 70 of
                                                   101



 Exhibit         Bates/Document                       Title                  Defendant’s   Ruling   Admitted
                                                                              Objections
611        DEF_00172559-              Email from S. Matthews to C. Wright    H; R
           DEF_00172561               re INVENTOR OF BITCOIN…, dated
                                      April 21, 2016
612        DEF_00233242-              Screenshot of Bill Private Ruling   H; R; A
           DEF_00233242
613        DEF_00247440-              Bitmessage Settings                    H; A; CHAR
           DEF_00247442
                                      Supp. Edman Report Ex. 01 - Keys.dat
613.1                                 - Bitmessage Wiki.pdf
                                      Supp. Edman Report Ex. 02 - Address
613.2                                 Block - Bitmessage Wiki.pdf
614        DEF_01099220-              Cloudcroft GST Calculation             H; R; A
           DEF_01099228               Worksheet
615        DEF_01105236-              Email from C. Wright to A. Sommer re H; R; P
           DEF_01105241               Invoice dated May 27, 2015
616        DEF_01587998-              Email from Highsecured to A. Sommer H; R; A; P;
           DEF_0158801                re Contract Verification, dated May 25, CHAR
                                      2015
617        WITHDRAWN                  WITHDRAWN

618        WITHDRAWN                  WITHDRAWN
619        WITHDRAWN                  WITHDRAWN
620        DEF_01590524-              Description of Transactions            H; R; P
           DEF_01590526
621        DEF_01597478-              Email from C. Wright to J. Chesher, A. H; R; A;
           DEF_01597496               McCaughan, J. Slater and N. Mavrakis CML; CHAR;
                                                                             UP


                                                         70
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 71 of
                                                   101



 Exhibit         Bates/Document                        Title                    Defendant’s   Ruling   Admitted
                                                                                Objections
                                      re Beer and congrats, dated February 3,
                                      2014
622        WITHDRAWN                  WITHDRAWN

623        WITHDRAWN                  WITHDRAWN

624        DEF_01631091-              Demorgan Limited Tax Invoice              H; R; P
           DEF_01631105
625        DEF_01667258-              Email from C. Wright to K. Unger re H; R; A;
           DEF_01667420               Statement, dated June 16, 2014       CHAR; UP
                                      Bitcoin Tax Implications
                                      How Bitcoin Protocol Actually Works
                                      Screenshot of Mark Ferrier Bitmesage
626        WITHDRAWN                  WITHDRAWN

627        WITHDRAWN                  WITHDRAWN
628        WITHDRAWN                  WITHDRAWN
629        WITHDRAWN                  WITHDRAWN

630        KLEIMAN_00278248-          Email from C. Wright to I. Kleiman re H
           KLEIMAN_00278249           FW: Design by…, dated Feb. 28, 2014
                                      Supp. Edman Report Ex. 04 -
630.1                                 KLEIMAN_00278248 - GPG
                                      Output.pdf
631        WITHDRAWN                  WITHDRAWN




                                                         71
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 72 of
                                                  101



Exhibit         Bates/Document                       Title                  Defendant’s   Ruling   Admitted
                                                                            Objections
632       WITHDRAWN                  WITHDRAWN

633       DEF_00027396-              Screenshot of Wallet                   H; UP; CML
          DEF_00027399
634       DEF_00031142-              Hotwire PE WKID Cost Estimation        H; R; SPEC;
          DEF_00031151                                                      ILO; CML
635       DEF_00056469-              Demorgan Investor Pack                 H; R
          DEF_00056559
636       DEF_00065750-              Email from S. Matthews to C. Wright    H; SPEC
          DEF_00065752               re Hey, dated November 25, 2015
637       DEF_00067254-              Preliminary GAAR Panel Submission, H; R; A; UP;
          DEF_00067390               dated August 29, 2014              CHAR
638       DEF_00717983-              IP License between Cloudcroft and      H; R; A
          DEF_00717994               GISCR, dated August 22, 2013
639       WITHDRAWN                  WITHDRAWN

640       DEF_00796229-              Email from C. Wright to D. Kobza re    H; R
          DEF_00796232               Resignation
641       DEF_01097000-              Email from C. Wright to R. Watts re    H; R; A
          DEF_01097015               Hotwire, dated June 24, 2015
642       WITHDRAWN                  WITHDRAWN
643       DEF_01108601-              Email from C. Wright to C. Ayre re     H; R; UP;
          DEF_01108601               Current Development, dated August 3,   R404
                                     2015
644       DEF_01110002-              Email from D. McMaster to C. Wright    H; R; A; P;
          DEF_01110028               re Venue dated December 23 2013        UP



                                                        72
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 73 of
                                                  101



Exhibit         Bates/Document                       Title              Defendant’s   Ruling   Admitted
                                                                        Objections
645       WITHDRAWN                  WITHDRAWN

646       WITHDRAWN                  WITHDRAWN

647       DEF_01590998-              Bitmessage Screenshot              A; R; CHAR;
          DEF_01591145                                                  CML; UP; H
648       WITHDRAWN                  WITHDRAWN
649       WITHDRAWN                  WITHDRAWN

650       WITHDRAWN                  WITHDRAWN

651       WITHDRAWN                  WITHDRAWN

652       WITHDRAWN                  WITHDRAWN

653       DEF_01630526-              Email from C. Wright to A. Ellis   R; H; CHAR
          DEF_01630528
654       WITHDRAWN                  WITHDRAWN

655       WITHDRAWN                  WITHDRAWN

656       DEF_01854257-              W&K Operating Agreement            H; A; CML
          DEF_01854270
657       DEF_01854271-              W&K Operating Agreement            H; A; CML
          DEF_01854287



                                                        73
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 74 of
                                                  101



Exhibit         Bates/Document                       Title                Defendant’s    Ruling   Admitted
                                                                           Objections
658       DEF_01854288-              W&K Operating Agreement              H; A; CML
          DEF_01854301
659       DEF_01854302-              W&K Operating Agreement              H; A; CML
          DEF_01854318
660       DEF_01891039-              Email from C. Wright to A. Sommer re H; P; R
          DEF_01891041               BTC, dated December 30, 2014
661       WITHDRAWN                  WITHDRAWN




662       WITHDRAWN                  WITHDRAWN

663       DEF_01896020-              Email from J. Chesher re what        H; R; P; UP
          DEF_01896051               occurred dated February 26, 2014
664       DEF_01913789-              Email from C. Wright to J. Chesher re P; H
          DEF_01913789               External Companies dated February
                                     28, 2014
665       WITHDRAWN                  WITHDRAWN

666       DEFAUS_01810748-           Screeenshot                          H; A; CML;
          DEFAUS_01810853                                                 CHAR; UP; P
667       DEFAUS_01863888-           Email from C. Wright to A. Sommer re H; R; P
          DEFAUS_01863892            BTC
668       KLEIMAN_00001693-          Email from C. Wright to I. Kleiman re H; A; SPEC;
          KLEIMAN_00001712           Questions, dated April 23, 2014       CML; R408




                                                       74
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 75 of
                                                  101



Exhibit         Bates/Document                       Title                 Defendant’s   Ruling   Admitted
                                                                            Objections
669       KLEIMAN_00004284-          Email from C. Wright to I. Kleiman re H; R; UP;
          KLEIMAN_00004284           Dave, dated June 21, 2016             CHAR
670       WITHDRAWN                  WITHDRAWN

671       DEFHC_00000045-            Bitmessages from Dave, dated January H; A; CML
          DEFHC_00000045             15, 2013
672       WITHDRAWN                  WITHDRAWN
673       DEF_00008751-              W&K Info Defense Research LLC         H; A
          DEF_00008751               Invoice to Strasan Pty Limited
674       DEF_00013028-              Email from L. Wright to C. Wright re H
          DEF_00013029               R&D proposal, dated March 24, 2014.
675       DEF_00013369-              Affidavit of Lynn Wright (Wright v.   H; A
          DEF_00013371               W&K Info Defense Research LLC,
                                     NSW Supreme Court)
676       DEF_00015989-              Email from C. Wright to S. Moulton,   H; R
          DEF_00015990               C. Ball and cc: various re:
                                     Keynote.doc, dated September 28,
                                     2009
677       WITHDRAWN                  WITHDRAWN
678       DEF_00025400-              Email from C. Wright to Ramona A re:
          DEF_00025400               Dave, dated April 21, 2011.
679       DEF_00025402-              Email from C. Wright to Ramona A re: R; CHAR;
          DEF_00025403               Bravery, dated April 22, 2011.       UP
680       WITHDRAWN                  WITHDRAWN




                                                       75
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 76 of
                                                  101



Exhibit         Bates/Document                       Title                  Defendant’s   Ruling   Admitted
                                                                            Objections
681       DEF_00029612-              Email from A. Pedersen to C. Wright H; ILO;
          DEF_00029651               and R. Watts re: Valuation attaching  SPEC; CML;
                                     DeMorgan 1.pdf, dated November 16, A
                                     2014.
682       DEF_00031484-              Email from C. Wright to L. Mees, cc: H; R; UP;
          DEF_00031488               C. Pilgrim, J. Aitken, R. Watts re:   CHAR
                                     Further C01N tax return queries with
                                     attachments, dated June 17, 2014.
683       DEF_00034411-              Email from C. Wright to D. Kleiman,
          DEF_00034411               P. Henry, B. Long, C. Conrad, cc: R.
                                     Lee re: Forensic Common Body of
                                     Knowledge, dated November 16, 2008.
684       DEF_00034932-              Email from C. Wright re: Hotwire PR H; R; CML
          DEF_00035186               with attachments, dated May 17, 2014.
685       DEF_00038394-              Patents Progress & Prioritization      H; A; R
          DEF_00038396               document, last updated January 13,
                                     2015.
686       WITHDRAWN                  WITHDRAWN

687       DEF_00046501-              Email from C. Wright to A. Pedersen, H; R
          DEF_00046501               cc: R. Watts re: Before you are going
                                     on leave -> Please, call, dated January
                                     17, 2014.
688       DEF_00046524-              Email from C. Wright to J. Turanec,     H; R
          DEF_00046530               cc: S. Savanah re: HOTWIRE
                                     PREEMPTIVE INTELLIGENCE
                                     PTY. LTD.- Commercialisation
                                     Australia Stage 1 application - Panel
                                     invite [DLM=For-Official-Use-Only],
                                     dated January 23, 2014.


                                                        76
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 77 of
                                                  101



Exhibit         Bates/Document                        Title                    Defendant’s    Ruling   Admitted
                                                                               Objections
689       WITHDRAWN                  WITHDRAWN

690       DEF_00052104-              Email from S. Matthews to R. Watts        H; R; A
          DEF_00052105               re: Check of corporate records, dated
                                     January 12, 2016.
691       DEF_00052152-              Email from C. Wright to S. Matthews,      H; R
          DEF_00052153               V. Brooks, A. Edwards, cc: R.
                                     MacGregor, bcc: R. Watts re: London,
                                     dated March 30, 2016.
692       DEF_00052461-              Email from R. Watts to R. MacGregor,      H; R; A
          DEF_00052462               cc: S. Matthews, C. Wright re: Gavin
                                     and SN talked in early 2010 not 2009,
                                     dated May 3, 2016.
693       DEF_00054838-              C01N Pty Ltd, Response to ATO             H; R; UP; A;
          DEF_00054883               letters, dated February 5, 2015.          P; CHAR
694       DEF_00055916-              Austrailian Taxation Office- Reasons      H; R; A; UP;
          DEF_00056158               for Decision for Denariuz Pty Ltd for     CHAR
                                     the period 1 July 2013 to 30 June 2014,
                                     dated March 21, 2016.
695       DEFAUS_00065727-           Email from C. Wright to R. Watts, S.      H; R; SPEC
          DEFAUS_00065729            Matthews re: Hey, dated November 25,
                                     2015 (12:21:46 AM).
696       DEF_00069972-              Email from C. Wright to S. Matthews,      H
          DEF_00069974               R. Watts, R. MacGregor re: Hey, dated
                                     December 8, 2015.
697       DEF_00075205-              Email from C. Coyne to C. Wright re:      H; R
          DEF_00075205               CACS followup
                                     [SEC=UNCLASSIFIED], dated
                                     September 22, 2011.



                                                        77
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 78 of
                                                  101



Exhibit         Bates/Document                       Title                 Defendant’s     Ruling   Admitted
                                                                            Objections
698       DEF_00076955-              Email from C. Wright to R. Manu, cc: H; R
          DEF_00076955               J. Wilson, R. Watts re: Cold Storage,
                                     dated October 16, 2013.
699       DEF_00174928-              Email from R. Watts to D. Watts re:   H; R; A; UP
          DEF_00174929               Phone Bills, dated September 4, 2012.
700       DEF_00275901-              Email from C. Wright to Ramona A re:    R; CHAR;
          DEF_00275902               Over Qualified, dated November 18,      UP
                                     2010.
701       DEF_00470648-              Email from C. Wright to R. Watts re:    H; R
          DEF_00470649               ThinkGeek.com Order #4d6e87310,
                                     dated November 5, 2013.
702       DEF_00751918-              Craig notes from Xenon Meeting dated    R; H; A;
          DEF_00751919               October 24, 2014.
703       DEF_01096941-              Message details from D. Kleiman,        H; R; A;
          DEF_01096950               dated January 15, 2013.                 CML
704       DEF_01099562-              Craig Wright Response to Macquarie      H; R; A
          DEF_01099582               Telecom PoD (HWPE), dated October
                                     8, 2014.
705       DEF_01618143-              Email from R. Watts to A. Lodhi re:     H; R; A
          DEF_01618145               Hotwire Preemptive Intelligence
                                     Advance Finding and Overseas
                                     Finding [DLM=Sensitive] ->
                                     Supercomputer - Australian Activity -
                                     from AusIndustry, dated November 26,
                                     2015.
706       DEF_01912866-              CWRD- A response to the ATO             H; R; A; UP
          DEF_01912887               questions (Part 2) for Craig Wright
                                     R&D (ABN 72 433 066 448)
707       DEF_01913863-              Attachment - Questions for Dr Craig     H; UP; P; R
          DEF_01913883               Wright


                                                       78
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 79 of
                                                  101



Exhibit          Bates/Document                      Title                  Defendant’s   Ruling   Admitted
                                                                             Objections
708       DEF_01914240-              Email from C. Wright to J. Chesher, A. H; P; SPEC;
          DEF_01914240               Sommer, cc: R. Watts re: NSWSC         R
                                     transactions, dated April 23, 2014.
709       KLEIMAN_00561024-          Australia Court File - 2013-           R; H; A;
          KLEIMAN_00561061           00245661.pdf                           CML; UP
710       KLEIMAN_00560883-          Australia Court File – 2013-           R; H; A;
          KLEIMAN_00561023           00225983.pdf                           CML: UP
711       DEF_00080999-              Video of ATO Interview of Craig        R; H; UP;
          DEF_00080999               Wright                                 CHAR
712       DEF_01628757-              Email from C. Wright to A. Sommer H; A; CML;
          DEF_01628766               and R. Watts re Bitcoin Wallet, dated CHAR
                                     Nov. 26, 2014
713       DEFHC_01921441-            Email from C. Wright to A. Sommer CHAR; R;
          DEFHC_01921442             and R. Watts re Transaction, dated
                                     Aug. 31, 2014
714       WAT00000002                Email from S. Matthews to C. Wright, H; SPEC
                                     R. Watts, and C. Ayre re The Cabal,
                                     dated June 7, 2016
715       WITHDRAWN                  WITHDRAWN

716       DEFAUS_00119150-           Email from C. Wright to I. Kleiman re   H; A; CML;
          DEFAUS_00119166            Questions, dated April 23, 2014         SPEC
717       PAIGE_00002970-            Email from C. Wright to P. Paige re     H
          PAIGE_00002970             Update, dated March 17, 2014
718                                  C. Wright Voicemail to I. Kleiman,      R; CML
          KLEIMAN_00569375           April 22, 2014 2014
719       https://medium.com/@c      Craig Wright blog post: “On             SPEC;
          raig_10243/on-             Scammers” June 13, 2019                 CHAR; F;
          scammers-f5fca5801bb2                                              UP; R



                                                        79
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 80 of
                                                  101



Exhibit         Bates/Document                       Title                   Defendant’s     Ruling   Admitted
                                                                             Objections
720       KLEIMAN_00004797-          Email from C. Wright to I. Kleiman re H; A
          KLEIMAN_00004801           “Bond Villains,” dated March 2, 2014
721                                  Dave Kleiman AT&T Cell Phone           NP; FRPC
          N/A                        Records                                37(c)(1); A; R
722                                  Email from C. Wright to A. Sommer P; R
          DEFAUS_01868521-           and R. Watts re “BTC in trust into
          DEFAUS_01868522            escrow,” dated June 12, 2015
723                                  C. Ayre email to C. Wright * JLP re    H; R
                                     “Good…help us with the escrow
          DEFAUS_00651732-           account info so we can get this
          DEFAUS_00651732            moving,” dated June 18, 2015
724       DEFAUS_01758182-           Denariuz Activity Statement Audit,     H; R; CHAR;
          DEFAUS_01758191            Oct. 29, 2014                          UP
725       DEF_01108931-              Email from C. Wright to R. Watts re H; UP; SPEC
          DEF_01108939               Report to Ira, dated July 1, 2015
726       DEF_00022522-              Email from I. Kleiman to R. Watts re H; UP
          DEF_00022523               Coin-Exch reports, dated July 3, 2015
727                                  Email from C. Wright to A. Sommer H; A; R
          DEFAUS_00628286-           and I. Kleiman re Letter, dated May 1,
          DEFAUS_00628294            2014
728       DEF_01895903-              Email from R. Watts to S. Matthews re H; A; P
          DEF_01895906               COIN-Exch, dated April 21, 2016
729       KLEIMAN_00278303-          Email from C. Wright to I. Kleiman re H; R
          KLEIMAN_00278356           Tomorrow, dated April 25, 2014
730                                  Email from C. Wright to S. Matthews, R; SPEC
          DEFAUS_00659866-           C. Ayre and R. MacGregor re Good
          DEFAUS_00659866            day, dated Sep. 5, 2015




                                                        80
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 81 of
                                                  101



Exhibit         Bates/Document                       Title                  Defendant’s     Ruling   Admitted
                                                                            Objections
731       KLEIMAN_00005025-          Email from I. Kleiman to C. Wright re H; CML;
          KLEIMAN_00005068           Questions, dated April 23, 2014       SPEC; UP
732                                  Email from I. Kleiman to A. Sommer H
          KLEIMAN_00000524-          re W&K Questions, dated April 26,
          KLEIMAN_00000524           2014
733       DEFAUS_00119574-           Email from C. Wright to I. Kleiman re H; CML
          DEFAUS_00119575            Memory Recall, dated May 20, 2014
734       DEFAUS_00558276-           Email from U. Nguyen to C. Wright re H
          DEFAUS_00558280            More, dated Nov. 10, 2015
735       DEF_00281068-              Kursten Karr message to Craig Wright R; H
          DEF_00281068               on Youtube May 7, 2013
736       DEF_00026676-              Kursten Karr message via Youtube to R; H
          DEF_00026676               C. Wright, May 7, 2013
737       DEF_00026610-              Email from C. Wright to K. Karr, dated R
          DEF_00026610               May 7, 2013
738
          WITHDRAWN                  WITHDRAWN
739       DEF_00054838-              C01N Pty Ltd, Response to ATO            R; H; CHAR;
          DEF_00054883               letters, dated February 5, 2015.         UP; A
740                                  Email from U. Nguyen to C. Wright re     H; R
          DEF_00030488-              Filing – error on reinstatement, dated
          DEF_00030488               Mar. 29, 2014
741       DEF_00030491-              C. Wright email to Florida Division of   H; R
          DEF_00030492               Corporations, dated Mar. 28, 2014
742       DEF_01099811-              ATO Reasons for Decision-Craig           H; CHAR; R;
          DEF_01099833               Wright R&D                               UP




                                                        81
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 82 of
                                                  101



Exhibit          Bates/Document                       Title                    Defendant’s   Ruling   Admitted
                                                                                Objections
743       DEF_00022525-              Email from R. Watts to I. Kleiman re      H; SPEC; UP
          DEF_00022528               more questions dated June 25, 2015
744       DEFAUS_00112889-           Email from C. Wright to I. Kleiman re     A
          DEFAUS_00112890            R&D, dated Feb. 16, 2014
745       DEFAUS_00627881-           Email from C. Wright to I. Kleiman re     H; CML;
          DEFAUS_00627904            Questions, dated April 23, 2014           SPEC; UP
746       KLEIMAN_00399491-          Email from C. Wright to I. Kleiman re     H; CML;
          KLEIMAN_00399506           Questions, dated April 23, 2014           SPEC; UP
747       WITHDRAWN                  WITHDRAWN
748       [DE 12-2]                  Affidavit of C. Wright - April 16, 2018   R
749                                  Email from D. Kleiman to I. Kleiman       R; H; MIL
          CONTROL00154469            re Bus Card, dated Nov. 21, 2003
750       KLEIMAN_00034810-          Email from D. Kleiman to Ira Kleiman      R; H; MIL
          KLEIMAN_00034814           re thoughts, dated May 31, 2012
751       KLEIMAN_00004868-          Email from C. Wright to I. Kleiman re     H; CML;
          KLEIMAN_00004890           Questions, dated April 23, 2014           SPEC; UP
752       WITHDRAWN                  WITHDRAWN
753                                  Email from C. Wright email to G.          H; R
          GAVIN_00000259-            Andresen re Some reading for the
          GAVIN_00000263             plane, dated April 6, 2016
754       WITHDRAWN                  WITHDRAWN
755                                  [heise online UK] Secure deletion: a      H; R; A
                                     single overwrite will do it
          https://protect-
                                     Dave Kleiman dave at
          us.mimecast.com/s/hR0
          5C1wB6yILKPlLINf0X         davekleiman.com
          1                          Tue Jan 20 19:18:39 EST 2009




                                                        82
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 83 of
                                                  101



Exhibit          Bates/Document                     Title                  Defendant’s   Ruling   Admitted
                                                                            Objections
756                                  Email from I. Kleiman to C. Wright re H; R; A;
                                     FW Design By, dated February 28,      CHAR
          KLEIMAN_00194007-
          KLEIMAN_00194009           2014
757                                  Email from C. Wright to R. Watts and H; A; CML
          DEF_00013675-              S. Matthews re Letter, dated July 14,
          DEF_00013718               2015
758                                  Email from A. Miller to I. Kleiman re H
          KLEIMAN_00004923-          Request for Information, dated April
          KLEIMAN_00004928           29, 2014
759                                  Email from S. Matthews to C. Wright H; R
          DEF_01613736-              and R. Watts re Communication, dated
          DEF_01613737               August 28, 2015
760                                  Email from C. Wright to I. Kleiman re H; CHAR
          KLEIMAN_00177456-          AGMO COE in IPv6.pptx, dated
          KLEIMAN_00177456           February 18, 2014
761       WITHDRAWN                  WITHDRAWN
762       WITHDRAWN                  WITHDRAWN
763       https://www.diffchecker                                          A; H; CHAR
          .com/uAgBd9BT              Craig Blog Post dated April 30, 2013
764       GAVIN_00000241-            Email from C. Wright to G. Andresen, R
          GAVIN_00000241             re Good Morning dated May 24, 2016
765       WITHDRAWN                  WITHDRAWN
766       KLEIMAN_00199365-                                                A; R; H
          KLEIMAN_00199365           Tweet by Don Lynam
767       KIMON_00000254-            Email from K. Andreou to I. Kleiman H; SPEC; UP;
          KIMON_00000256             dated May 17, 2016                    CHAR




                                                      83
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 84 of
                                                  101



Exhibit          Bates/Document                              Title                   Defendant’s   Ruling   Admitted
                                                                                      Objections
768       DEFAUS_00115572-                   Email from C. Wright to I. Kleiman re H
          DEFAUS_00115573                    Another, dated March 7, 2016
769       DEFAUS_00628830-                   Letter from Joe Karp to A. Sommer,      H; COM
          DEFAUS_00628831                    Dated May 14, 2014
770                                          Email from C. Wright to L. Wright re R; UP;
          DEF_00845667-DEF_00845668          Story, dated Nov. 23, 2010              CHAR
771       https://www.cryptsoft.com/fips14   Sept. 26, 2002 - Securit-e-Doc SITT® A; H; R
          0/vendors/140sp276.pdf             Cryptosystem
772       WITHDRAWN                          WITHDRAWN
773       DEF_00023291-DEF_00023293          Email from C. Wright to R. Macgregor H; R
                                             re Trustee Letter, dated April 17, 2016
                                             (
774       DEF_00023315-DEF_00023317          Email from C. Wright to R. Watts an S. H; UP; ILO
                                             Matthews re FW: evidence, dated
                                             August 17, 2015
775       DEF_00023346-DEF_00023347          Email from R. Watts to A. OHagan re H; A; SPEC
                                             Dinner later this week, dated Mar. 28,
                                             2016
776       DEFAUS_00662727-                   Email from S. Matthews to R. Watts re H; A; R;
          DEFAUS_00662795                    RFI #18, dated Sep. 29, 2015            CHAR; CML
777       DEF_01108970- DEF_0119010          Email from C. Wright to R. Watts and H
                                             S. Matthews, re FW: coin-ex, dated
                                             June 28, 2015
778       DEF_01110548-DEF_01110549          Email from R. Watts to C. Wright re     H; R; UP
                                             Does this need to be sent to Tasneem?,
                                             dated Dec. 3, 2015



                                                               84
            Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 85 of
                                                 101



Exhibit         Bates/Document                       Title                Defendant’s   Ruling   Admitted
                                                                           Objections
779       DEF_01586110-DEF_01586115   Meeting Minutes dated Dec. 18, 2015 H; R;
                                      (Chaos)
780       DEF_01586116-DEF_01586122   Meeting Minutes dated Dec. 18, 2015 H; A; R;
                                      (Cloudcroft)
781       DEF_01586123-DEF_01586129   Meeting Minutes dated Dec. 18, 2015 H; A; R;
                                      (CO1N)
782       DEF_01586131-DEF_01586137   Meeting Minutes dated Dec. 18, 2015 H; R;
                                      (Daso)
783       DEF_01586138-DEF_01586144   Meeting Minutes dated Dec. 18, 2015 H; A; R;
                                      (Demorgan Holdings)
784       DEF_01586145-DEF_01586148   Meeting Minutes dated Dec. 18, 2015 H; A; R
                                      (Demorgan Limited)
785       DEF_01586149-DEF_01586155   Meeting Minutes dated Dec. 18, 2015 H; A; R;
                                      (Denariuz)
786       DEF_01586156-DEF_01586162   Meeting Minutes dated Dec. 18, 2015 H; A; R;
                                      (Integyrz)
787       DEF_01586163-DEF_01586169   Meeting Minutes dated Dec. 18, 2015 H; A; R;
                                      (Interconnected)
788       DEF_01586170-DEF_01586176   Meeting Minutes dated Dec. 18, 2015 H; R;
                                      (Misfit)
789       DEF_01586177-DEF_01586182   Meeting Minutes dated Dec. 18, 2015 H; R;
                                      (Panopticrypt)
790       DEF_01586183-DEF_01586189   Meeting Minutes dated Dec. 18, 2015 H; A; R;
                                      (Pholus)
791       DEF_01586190-DEF_01586196   Meeting Minutes dated Dec. 18, 2015 H; A; R;
                                      (Zuhl)



                                                       85
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 86 of
                                                   101



 Exhibit           Bates/Document                           Title                    Defendant’s   Ruling   Admitted
                                                                                      Objections
792        DEF_01895808-DEF_01895810 Email from C. Ayre to S. Matthews, R. H; R; UP; P
                                              Watts, R. Macgregor, C. Wright re
                                              Settlement discussion, dated February
                                              2, 2016
793        DEF_00175279-DEF_00175279 Email from C. Wright to R. Macgregor H; R
                                              re Project Wintermute, dated July 14,
                                              2015
794        DEF_00477813-DEF_00477813 Email from R. Watts to A. Damoka,               H; R; A
                                              dated Feb. 10, 2014
795        DEF_01901513                       Reasons for Decision (CO1N)            H; R; A; P
           DEF_00057103-DEF_00057157
796        https://www.ontier.net/ia/a2a1bitc SCA Ontier Press Release “ONTIER H; A; R; UP
           oin-developers-press-release-12- Serves Claim against Bitcoin
           may-2021.pdf                       developers to recover £4billion worth
                                              of Bitcoin”
797        ECF 144-1                          Email from D. Kleiman. U. Nguyen re
                                              Appointment Letter, dated Dec. 20,
                                              2012
798        DEF_00000103-DEF_00000104 Email from D. Kleiman to C. Wright,
                                              dated December 10, 2012
799        DEF_00068503- DEF_00068504 Email from D. Kleiman to C. Wright
                                              Supp. Edman Report Ex. 03 -
799.1
                                              DEF_00068503 - GPG Ouptut.pdf
800        DEFHC_01518683-                    Email from C. Wright to R. Watts et
           DEFHC_01518684                     al., dated February 28, 2014
801        DEFHC_01518698-                    Email from C. Wright to J. Chesher, A.
           DEFHC_01518699                     Sommer, dated February 28, 2014



                                                               86
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 87 of
                                                   101



 Exhibit          Bates/Document                        Title                 Defendant’s   Ruling   Admitted
                                                                              Objections
802        DEF_00014589- DEF_00014589 Email from D. Kleiman, dated June 27,
                                      2011
                                      1st Edman Report Ex. 46-
802.1
                                      DEF_00014589.msg.headers.pdf---
803        DEF_00014910- DEF_00014910 Email from D. Kleiman to A. Ludwig,
                                      dated October 12, 2012
                                      1st Edman Report Ex. 53-
803.1
                                      DEF_00014910.msg.headers.pdf---
804        DEF_00167853- DEF_00167854 Email from H. Khuu to C. Wright,
                                      dated April 5, 2013
805        DEF_00022274- DEF_00022275 Email from C. Wright dated December
                                      6, 2019
                                      1st Edman Report Ex. 34-
805.1                                 panopticrypt.com - DomainTools
                                      Report.pdf--
                                      1st Edman Report Ex. 35- rcjbr.org -
805.2
                                      DomainTools Report.pdf--
806        DEF_00023312- DEF_00023313 Email from C. Wright to S. Dempter,
                                      dated July 18, 2013
807        DEF_00027287- DEF_00027287 Email from D. Kleiman to U. Nguyen,
                                      dated December 20, 2012
                                      1st Edman Report Ex. 36-
807.1
                                      DEF_00027287.PDF.obj_1.pdf---
                                      1st Edman Report Ex. 38-
807.2                                 DEF_00027287.PDF.obj_13.decoded_
                                      stream.pdf---



                                                          87
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 88 of
                                                   101



 Exhibit         Bates/Document                        Title                  Defendant’s   Ruling   Admitted
                                                                              Objections
                                        1st Edman Report Ex. 40-
807.3                                   DEF_00027287.PDF - GPG
                                        Output.pdf--
808        DEF_00027288- DEF_00027288   Email from D. Kleiman to U. Nguyen,
                                        dated December 20, 2012
                                        1st Edman Report Ex. 37-
808.1
                                        DEF_00027288.PDF.obj_2.pdf---
                                        1st Edman Report Ex. 39-
808.2                                   DEF_00027288.PDF.obj_17.decoded_
                                        stream.pdf---
809        DEF_00027289- DEF_00027290   Email from D. Kleiman to U. Nguyen,
                                        dated October 13, 2012
                                        1st Edman Report Ex. 52-
809.1
                                        DEF_00027289.PDF.obj_2_0.pdf---
                                        1st Edman Report Ex. 54-
809.2
                                        DEF_00027289.PDF.obj_104_0.pdf---
810        DEF_00030109- DEF_00030110   Email from H. Khuu to C. Wright,
                                        dated April 5, 2013
                                        1st Edman Report Ex. 60-
810.1
                                        DEF_00030109.msg.headers.pdf---
811        DEF_00030131- DEF_00030132   Email from H. Khuu to C. Wright,
                                        dated April 5, 2013
                                        1st Edman Report Ex. 59-
811.1
                                        DEF_00030131.msg.headers.pdf---
812        DEF_00030136- DEF_00030136   Email from B. Kinloch to C. Wright
                                        and J. Chesher, dated November 1,
                                        2013


                                                         88
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 89 of
                                                   101



 Exhibit         Bates/Document                         Title                    Defendant’s   Ruling   Admitted
                                                                                 Objections
                                        1st Edman Report Ex. 61-
812.1
                                        DEF_00030136.msg.headers.pdf---
813        DEF_00030137- DEF_00030137   Email from C. Salem to C. Wright,
                                        dated July 15, 2013
                                        1st Edman Report Ex. 63-
813.1
                                        DEF_00030137.msg.headers.pdf---
                                        1st Edman Report Ex. 64- Exchange
813.2                                   Server build numbers and release dates
                                        _ Microsoft Docs.pdf---
814        DEF_00035418- DEF_00035420   Email from C. Wright to M. Hardy and
                                        J. Wilson, dated September 12, 2013
815        DEF_00045255- DEF_00045255   Coin-Exch Pty. Ltd. Certificate of
                                        Registration, dated April 17, 2013
                                        1st Edman Report Ex. 56-
815.1
                                        DEF_00045255.PDF.obj_11_0.pdf---
816        DEF_00046674- DEF_00046675   Email from H. Khuu to C. Wright,
                                        dated April 5, 2013
                                        1st Edman Report Ex. 58-
816.1
                                        DEF_00046674.msg.headers.pdf---
817        DEF_00074267- DEF_00074268   Email from B. Kinloch to C. Wright
                                        and J. Chesher,dated November 1,
                                        2013
818        DEF_00074272- DEF_00074273   Email from B. Kinloch to C. Wright,
                                        dated November 1, 2013
819        DEF_00074274- DEF_00074275   Email from H. Khuu to C. Wright,
                                        dated April 5, 2013



                                                           89
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 90 of
                                                   101



 Exhibit          Bates/Document                       Title                 Defendant’s   Ruling   Admitted
                                                                             Objections
820        DEF_00074276- DEF_00074277 Email from H. Khuu to C. Wright,
                                      dated April 5, 2013
821        DEFAUS_00654293-           Email from B. Kinloch to C. Wright
           DEFAUS_00654294            and J. Chesher, dated November 1,
                                      2013
                                      1st Edman Report Ex. 62-
821.1
                                      DEFAUS_00654293.msg.headers.pdf
822        DE [332-2]                 Declaration of Dr. Craig S. Wright,
                                      dated May 13, 2019
823        DEF_00027303- DEF_00027304 Email from D. Kleiman to C. Wright,
                                      dated December 10, 2012
                                      1st Edman Report Ex. 47-
823.1
                                      DEF_00027303.PDF.obj_5_0-1.pdf--
                                      1st Edman Report Ex. 48-
823.2
                                      DEF_00027303.PDF.obj_5_0-2.pdf--
                                      1st Edman Report Ex. 49-
823.3                                 DEF_00027303.PDF - GPG
                                      Output.pdf--
824        DEF_00068505- DEF_00068507 Email from C. Wright, dated February
                                      28, 2014
                                      1st Edman Report Ex. 50-
824.1
                                      DEF_00068505.msg.headers.pdf---
                                      1st Edman Report Ex. 51-
824.2                                 DEF_00068505.msg - GPG
                                      Output.pdf--
825        DEF_00053349- DEF_00053354 Incorporation Form for Tulip Trading
                                      Limited; Tulip Trust Limited; and


                                                          90
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 91 of
                                                   101



 Exhibit         Bates/Document                          Title                    Defendant’s   Ruling   Admitted
                                                                                  Objections
                                        Tulip Bubbles Limited, dated October
                                        17, 2004
                                        2nd Supp. Edman Report Ex.
825.1
                                        104_DEF_00053349.PDF.obj_1.PDF
                                        2nd Supp. Edman Report Ex.
825.2
                                        106_DEF_00053349.PDF.trailer.PDF
826        DEF_00169220- DEF_00169220   Email from C. Wright to A. Pedersen,
                                        ated October 21, 2014
                                        2nd Supp. Edman Report Ex.
826.1
                                        124_DEF_00169220.msg.headers.PDF
827        DEF_00171109- DEF_00171109   Email from C. Wright to V.
                                        Magnusson, dated November 25, 2014
                                        2nd Supp. Edman Report Ex.
827.1
                                        125_DEF_00171109.msg.headers.PDF
828        DEF_00238089- DEF_00238089   Email from C. Wright to A. Ellis, dated
                                        August 25, 2014
                                        2nd Supp. Edman Report Ex.
828.1
                                        129_DEF_00238089.msg.headers.PDF
829        DEF_00239037- DEF_00239038   Email from C. Wright to A. Ellis, dated
                                        January 22, 2015
                                        2nd Supp. Edman Report Ex.
829.1
                                        126_DEF_00239037.msg.headers.PDF
830        DEF_00239621- DEF_00239621   Email from C. Wright to V.
                                        Magnusson, dated November 26, 2014
                                        2nd Supp. Edman Report Ex.
830.1
                                        127_DEF_00239621.msg.headers.PDF



                                                           91
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 92 of
                                                   101



 Exhibit          Bates/Document                         Title                  Defendant’s   Ruling   Admitted
                                                                                Objections
831        DEF_00762765- DEF_00762766 Email from C. Wright to A. Ellis, dated
                                      August 26, 2014
                                      2nd Supp. Edman Report Ex.
831.1
                                      130_DEF_00762765.msg.headers.PDF
832        DEF_00762940- DEF_00762941 Email from C. Wright to V.
                                      Magnusson, dated September 24, 2014
                                      2nd Supp. Edman Report Ex.
832.1
                                      131_DEF_00762940.msg.headers.PDF
833        DEF_00763043- DEF_00763043 Email from C. Wright to F.
                                      Montgomery and R. Watts, dated April
                                      2, 2015
                                      2nd Supp. Edman Report Ex.
833.1
                                      132_DEF_00763043.msg.headers.PDF
834        DEF_00807313- DEF_00807316 Email from C. Wright to A. Davison,
                                      dated May 2, 2012
                                      2nd Supp. Edman Report Ex.
834.1
                                      075_DEF_00807313.msg.headers.PDF
                                      2nd Supp. Edman Report Ex.
                                      076_HistoricalmailMXrecordsforinfor
834.2
                                      mation-
                                      defense.com_SecurityTrails.com.pdf---
835        DEF_01220321- DEF_01220322 Email from C. Wright to V.
                                      Magnusson, dated September 5, 2014
                                      2nd Supp. Edman Report Ex.
835.1
                                      133_DEF_01220321.msg.headers.PDF
836        DEF_01587954- DEF_01587954 Letter from HighSecured to A.
                                      Sommer


                                                           92
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 93 of
                                                   101



 Exhibit         Bates/Document                          Title                    Defendant’s   Ruling   Admitted
                                                                                  Objections
                                        2nd Supp. Edman Report Ex.
836.1
                                        083_DEF_01587954.PDF.obj_2.PDF
837        DEF_01587955- DEF_01587955   Edman Second Supplemental Report
                                        2nd Supp. Edman Report Ex.
837.1                                   084_DEF_01587955.sig.gpg_output.P
                                        DF
838        DEF_01587956- DEF_01587996   Edman Second Supplemental Report
                                        2nd Supp. Edman Report Ex.
838.1                                   086_DEF_01587956.pdf.tar.asc.gpg_o
                                        utput.PDF
839        DEF_01590839- DEF_01590839   Email from C. Wright to S. Matthews
                                        and R. Watts, dated July 17, 2015
                                        2nd Supp. Edman Report Ex.
839.1
                                        134_DEF_01590839.msg.headers.PDF
840        DEF_01599641- DEF_01599642   Email from C. Wright and Harry, dated
                                        April 29, 2015
                                        2nd Supp. Edman Report Ex.
840.1
                                        135_DEF_01599641.msg.headers.PDF
841        DEF_01600410- DEF_01600410   Email from C. Wright to V.
                                        Magnusson, dated September 22, 2014
                                        2nd Supp. Edman Report Ex.
841.1
                                        136_DEF_01600410.msg.headers.PDF
842        DEF_01600652- DEF_01600652   Email from C. Wright to A. Ellis, dated
                                        August 22, 2014
843        DEF_01600654- DEF_01600654   4Cabling Tax Invoice, dated August
                                        22, 2014



                                                           93
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 94 of
                                                   101



 Exhibit          Bates/Document                       Title                 Defendant’s   Ruling   Admitted
                                                                             Objections
                                      2nd Supp. Edman Report Ex.
843.1
                                      006_DEF_01600654.PDF.obj_1.PDF
                                      2nd Supp. Edman Report Ex.
843.2                                 007_DEF_01600654.PDF.obj_1.decod
                                      ed.PDF
                                      2nd Supp. Edman Report Ex.
843.3
                                      011_DEF_01600654.PDF.trailer.PDF
844        DEF_01600685- DEF_01600685 HighSecured Invoice, dated March 10,
                                      2014
                                      2nd Supp. Edman Report Ex.
844.1                                 002_DEF_01600685.PDF.obj_2-
                                      1.PDF
                                      2nd Supp. Edman Report Ex.
844.2                                 003_DEF_01600685.PDF.obj_2-
                                      2.PDF
                                      2nd Supp. Edman Report Ex.
844.3                                 004_DEF_01600685.PDF.obj_4.decod
                                      ed_stream.PDF
                                      2nd Supp. Edman Report Ex.
844.4                                 005_DEF_01600685.PDF.obj_95.deco
                                      ded_stream.PDF
                                      2nd Supp. Edman Report Ex.
844.5                                 008_DEF_01600685.PDF.obj_5.xref_s
                                      tream_dictionary.PDF
                                      2nd Supp. Edman Report Ex.
844.6                                 009_DEF_01600685.PDF.obj_42.xref_
                                      stream_dictionary.PDF


                                                         94
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 95 of
                                                   101



 Exhibit          Bates/Document                       Title                 Defendant’s   Ruling   Admitted
                                                                             Objections
                                      2nd Supp. Edman Report Ex.
844.7                                 010_DEF_01600685.PDF.obj_96.xref_
                                      stream_dictionary.PDF
                                      2nd Supp. Edman Report Ex.
844.8                                 012_DEF_01600685.PDF.obj_94.deco
                                      ded_stream.PDF
845        DEF_01618590- DEF_01618590 Email from C. Wright to R. Watts,
                                      dated July 28, 2014
                                      2nd Supp. Edman Report Ex.
845.1
                                      137_DEF_01618590.msg.headers.PDF
846        DEFAUS_00519642-           Email from V. Magnusson to C.
           DEFAUS_00519642            Wright, dated October 17, 2014
                                      2nd Supp. Edman Report Ex.
846.1                                 107_DEFAUS_00519642.msg.headers.
                                      PDF
847        DEFAUS_00519687-           Abacus (Seychelles) Limited Invoice,
           DEFAUS_00519687            dated October 17, 2014
                                      2nd Supp. Edman Report Ex.
847.1                                 037_DEFAUS_00519687.PDF.obj_12
                                      9.PDF
                                      2nd Supp. Edman Report Ex.
847.2                                 039_DEFAUS_00519687.PDF.trailer.
                                      PDF
848        DEFAUS_00519977-           Declaration of Trust, dated July 21,
           DEFAUS_00519977            2011




                                                         95
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 96 of
                                                  101



 Exhibit         Bates/Document                     Title                   Defendant’s   Ruling   Admitted
                                                                            Objections
                                     2nd Supp. Edman Report Ex.
848.1                                115_DEFAUS_00519977.PDF.obj_10.
                                     PDF
                                     2nd Supp. Edman Report Ex.
848.2                                116_DEFAUS_00519977.PDF.trailers.
                                     PDF
849        DEFAUS_00624435-          Email from S. Nakamoto to U. Ng,
           DEFAUS_00624435           dated January 28, 2014
                                     2nd Supp. Edman Report Ex.
849.1                                042_DEFAUS_00624435.msg.headers.
                                     PDF
850        DEFAUS_01757607-          HighSecured Account Info for W&K
           DEFAUS_01757607           Info Defnse Research
                                     2nd Supp. Edman Report Ex.
850.1                                056_DEFAUS_01757607.PDF.obj_2.P
                                     DF
851        DEFAUS_01807944-          Email from HighSecured to A.
           DEFAUS_01807944           Sommer, dated May 3, 2015
                                     2nd Supp. Edman Report Ex.
851.1                                090_DEFAUS_01807944.msg.headers.
                                     PDF
                                     2nd Supp. Edman Report Ex.
                                     091_WhoisTXTinformationandhistoryf
851.2
                                     orhighsecured.com_SecurityTrails.com
                                     .pdf




                                                       96
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 97 of
                                                   101



 Exhibit          Bates/Document                        Title                   Defendant’s   Ruling   Admitted
                                                                                Objections
                                         2nd Supp. Edman Report Ex.
851.3                                    092_AllSubdomainsfordomainhighsec
                                         ured.com_SecurityTrails.com.pdf
                                         2nd Supp. Edman Report Ex.
                                         093_HistoricaldomaindataforA-
851.4
                                         recordsmail.highsecured.com_Security
                                         Trails.com.pdf
                                         2nd Supp. Edman Report Ex.
851.5                                    094_DEFAUS_01807944.msg.gpg_out
                                         put.PDF
852        DEFAUS_01808571-              Declaration of Trust, dated July 21,
           DEFAUS_01808571               2011
                                         2nd Supp. Edman Report Ex.
852.1                                    112_DEFAUS_01808571.PDF.obj_1.P
                                         DF
                                         2nd Supp. Edman Report Ex.
852.2                                    114_DEFAUS_01808571.PDF.trailer.
                                         PDF
853        Second Supplemental Edman     METANET-ICU.SLACK.COM
           Report Ex. 21
854        DEF_00013376-DEF_00013395 Bitmessages
855        DEF_00030101-DEF_00030102 Email from H. Khuu to C. Wright re
                                     Cloudcroft Pty Ltd, dated April 5, 2013
856        DEF_00030487-DEF_00030487 Email from C. Wright to C. Wright re
                                     Appointment Letter, dated April 16,
                                     2014




                                                           97
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 98 of
                                                  101



 Exhibit        Bates/Document                      Title                   Defendant’s   Ruling   Admitted
                                                                            Objections
                                     1st Edman Report Ex. 41-
856.1
                                     DEF_00030487.msg.headers.pdf---
                                     1st Edman Report Ex. 42-
856.2                                58.160.32.123 - GeoIP2 Precision
                                     Lookup Form _ MaxMind.pdf--
857        WAT00000001               Email from R. Watts. To C. Wright re
                                     Trusts, dated May 28, 2012
                                     2nd Supp. Edman Report Ex.
857.1
                                     043_WAT00000001.msg.headers.PDF
                                     2nd Supp. Edman Report Ex.
857.2                                044_WAT00000001.msg.body_plainte
                                     xt.PDF
                                     2nd Supp. Edman Report Ex.
857.3                                045_WAT00000001.msg.body_html.P
                                     DF
                                     2nd Supp. Edman Report Ex.
857.4                                046_UpdatehistoryforOffice2013_Micr
                                     osoftDocs.pdf
                                     2nd Supp. Edman Report Ex.
                                     047_OfficeNews-
857.5
                                     ThenewOfficeisnowavailableforbusine
                                     sscustomers.pdf
                                     2nd Supp. Edman Report Ex.
857.6
                                     048_MicrosoftWord-Wikipedia.pdf




                                                       98
                    Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 99 of
                                                         101



    Exhibit              Bates/Document                                    Title   Defendant’s   Ruling   Admitted
                                                                                   Objections
8583           DEF_01839995-DEF_01840021 C. Wright - BitCoin: SEIR-C
                                         propagation models of block and
                                         transaction dissemination
858.1                                    Edman Second Supplemental Report
                                         Exhibit
                                         117_DEF_01839995.DOC.word_prope
                                         rties.png
858.2                                    Edman Second Supplemental Report
                                         Exhibit
                                         118_DEF_01839995.DOC.olefile_outp
                                         ut.PDF
858.3                                    Edman Second Supplemental Report
                                         Exhibit
                                         119_DEF_01839995.DOC.references.h
                                         ex_dump.png
858.4                                    Edman Second Supplemental Report
                                         Exhibit
                                         120_DEF_01839995.DOC.references.s
                                         trings.PDF
8594           PAIGE_00003483-           Email from C. Wright to C. Conrad, P.
               PAIGE_00003484            Paige, et al. re Dave Kleiman, dated
                                         April 29, 2013
860            PAIGE_00001894-           Email from P. Paige to I. Kleiman re
               PAIGE_00001894            Viewing Emails
861            DEF_00022521-DEF_00022521 Email from S. Matthews to R. Watts
                                         and C. Wright re Proposal, dated July
                                         8, 2015

3
    This document is included on the Joint Exhibit List as JE119.
4
    This document is included on Defendant’s Trial Exhibit List as D042.


                                                                             99
             Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 100 of
                                                   101



 Exhibit         Bates/Document                      Title                    Defendant’s   Ruling   Admitted
                                                                              Objections
862        KLEIMAN_00005121-         Email and attachments from A. Miller
           KLEIMAN_00005165          to I. Kleiman re Request for
                                     Information (April 15, 2014)
863        N/A                       Letter of Administration Appointing
                                     Ira Kleiman Personal Representative of
                                     the Estate (Feb. 4, 2016)



                                       Respectfully submitted,
Dated: October 25, 2021
                                       By: /s/ Velvel (Devin) Freedman
                                       Velvel (Devin) Freedman, Esq.
                                       ROCHE FREEDMAN LLP
                                       1 SE 3rd Avenue, Suite 1240
                                       Miami, FL 33131
                                       vel@rochefreedman.com

                                       Kyle W. Roche, Esq.
                                       Joseph M. Delich
                                       ROCHE FREEDMAN LLP
                                       99 Park Avenue, 19th Floor
                                       New York, New York 10016
                                       kyle@rochefreedman.com
                                       jdelich@rochefreedman.com




                                                       100
              Case 9:18-cv-80176-BB Document 732-1 Entered on FLSD Docket 10/25/2021 Page 101 of
                                                    101



                                                Andrew S. Brenner, Esq.
                                                BOIES SCHILLER FLEXNER LLP
                                                100 SE 2nd Street, Suite 2800
                                                Miami, Florida 33131
                                                abrenner@bsfllp.com

                                                Counsel to Plaintiffs Ira Kleiman as
                                                Personal Representative of the Estate of
                                                David Kleiman and W&K Info Defense
                                                Research, LLC.


                                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 25, 2021 a true and correct copy of the foregoing was filed with CM/ECF, which caused

a copy to be served on all counsel of record.


                                                    /s/ Velvel (Devin) Freedman
                                                    Velvel (Devin) Freedman




                                                                 101
